     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         1 of 72 PageID
                                                                 Page 1 #:
                                                                        of 475
                                                                           72



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 6                        IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9      IN RE: Bard IVC Filters Products              No. MDL 15-02641-PHX-DGC
        Liability Litigation,
10
                                                      TRANSFER ORDER (FOURTH)
11
12
13
14            This multidistrict litigation proceeding (“MDL”) involves personal injury cases
15     brought against Defendants C. R. Bard, Inc. and Bard Peripheral Vascular, Inc.
16     (collectively, “Bard”). Bard manufactures and markets medical devices, including inferior
17     vena cava (“IVC”) filters. The MDL Plaintiffs have received implants of Bard IVC filters
18     and claim they are defective and have caused Plaintiffs to suffer serious injury or death.
19            The MDL was transferred to this Court in August 2015 when 22 cases had been
20     filed. Doc. 1. More than 8,000 cases had been filed when the MDL closed on May 31,
21     2019. Docs. 18079, 18128. Thousands of cases pending in the MDL have settled or are
22     near settlement. See Docs. 16343, 19445, 19798, 21167, 21410. The remaining cases no
23     longer benefit from centralized proceedings.
24            On August 20, 2019, the Court suggested the remand of 35 cases that were
25     transferred to this MDL by the United States Judicial Panel for Multidistrict Litigation
26     (the “Panel”), and transferred more than 500 cases that were directly filed in the MDL to
27     appropriate districts. Doc. 19899 at 2-6, 34-59. The Court suggested the remand of another
28     case and transferred nearly 400 cases on October 17, 2019. Doc. 20672 at 2-4, 32-48. On
     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         2 of 72 PageID
                                                                 Page 2 #:
                                                                        of 476
                                                                           72



 1     March 4, 2020, the Court suggested the remand of 30 cases and transferred more than 1,000
 2     cases. Doc. 21462 at 2-4, 33-74 (as amended by Docs. 21463, 21472).
 3            In an updated report on the settlement status of cases, the parties identify more than
 4     100 pending cases that are not likely to settle. Docs. 21552 at 2, 21552-2. These cases –
 5     which were directly filed in the MDL – will be transferred to appropriate districts pursuant
 6     to 28 U.S.C. § 1404(a). The cases to be transferred are listed on Schedule A to this order.
 7     Two other cases – Bernadette McBride v. C. R. Bard, Inc., No. 2:19-cv-02819, and Lonnie
 8     Easton v. C. R. Bard, Inc., No. 2:19-cv-04274 – will be unconsolidated from the MDL,
 9     will remain in the District of Arizona, and will be assigned to the undersigned judge. See
10     Doc. 21552-2 at 1, 3.
11            To assist the transferee courts, this order will describe events that have taken place
12     in the MDL. A copy of this order, along with the case files and materials, will be available
13     to courts after transfer.
14     I.     Transfer Under 28 U.S.C. § 1404(a).
15            Pursuant to Case Management Order No. 4 (“CMO 4”), cases were filed directly in
16     the MDL through use of a short form complaint. Doc. 363 at 3 (as amended by Docs. 1108,
17     1485). Plaintiffs were required to identify in the short form complaint the district where
18     venue would be proper absent direct filing in the MDL. See id. at 7. CMO 4 provides that,
19     upon the MDL’s closure, each pending direct-filed case shall be transferred to the district
20     identified in the short form complaint. Id. at 3.
21            Section 1404(a) provides that “[f]or the convenience of parties and witnesses, in the
22     interest of justice, a district court may transfer any civil action to any other district or
23     division where it might have been brought or to any district or division to which all parties
24     have consented.” Pursuant to § 1404(a), the Court will transfer the cases listed on Schedule
25     A to the districts identified in the short form complaints. See In re Biomet M2a Magnum
26     Hip Implant Prods. Liab. Litig., No. 3:12-MD-2391, 2018 WL 7683307, at *1 (N.D. Ind.
27     Sept. 6, 2018) (transferring cases under § 1404(a) where they would “no longer benefit
28     from centralized proceedings[] and the remaining case-specific issues are best left to


                                                   -2-
     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         3 of 72 PageID
                                                                 Page 3 #:
                                                                        of 477
                                                                           72



 1     decision by the courts that will try the cases”). Defendants’ right to challenge venue and
 2     personal jurisdiction upon transfer is preserved. See Docs. 19899 at 4-6, 20672 at 4, 21426
 3     at 4.
 4     II.     The MDL Proceedings.
 5             A summary of the MDL proceedings is provided below to assist courts receiving
 6     transfers under § 1404(a). CMOs, discovery orders, and other significant rulings are listed
 7     in Exhibit 1. The status of the remaining case-specific discovery and other pretrial issues
 8     in individual cases should be addressed by the transferee courts.
 9             A.    Plaintiffs’ Claims and the Pleadings.
10             The IVC is a large vein that returns blood to the heart from the lower body. An IVC
11     filter is a small device implanted in the IVC to catch blood clots before they reach the heart
12     and lungs. This MDL involves multiple versions of Bard’s retrievable IVC filters – the
13     Recovery, G2, G2X, Eclipse, Meridian, and Denali. These filters are umbrella-shaped
14     devices that have multiple limbs fanning out from a cone-shaped head. The limbs consist
15     of legs with hooks that attach to the IVC wall and curved arms to catch or break up blood
16     clots. Each of these filters is a variation of its predecessor.1
17             The MDL Plaintiffs allege that Bard filters are more dangerous than other IVC
18     filters because they have higher risks of tilting, perforating the IVC, or fracturing and
19     migrating to vital organs. Plaintiffs further allege that Bard failed to warn patients and
20     physicians about these higher risks. Defendants dispute these allegations, contending that
21     Bard filters are safe and effective, that their complication rates are low and comparable to
22     those of other IVC filters, and that the medical community is aware of the risks associated
23     with IVC filters.
24             CMO 2, entered October 30, 2015, required the creation of a master complaint, a
25     master answer, and templates of short-form complaints and answers. Doc. 249 at 6. The
26
               1
                In early 2019, Defendants moved to expand the scope of the MDL to include cases
27     concerning Bard’s Simon Nitinol Filter (“SNF”), a permanent device that predated the
       other filters in this litigation. The Panel denied the motion as moot because more than 80
28     SNF cases already had been filed in the MDL. None of the SNF cases are subject to this
       order.

                                                     -3-
     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         4 of 72 PageID
                                                                 Page 4 #:
                                                                        of 478
                                                                           72



 1     master complaint and answer were filed December 12, 2015. Docs. 364, 366. They are
 2     the operative pleadings for most of the cases in this MDL.
 3            The master complaint gives notice, pursuant to Rule 8, of the allegations that
 4     Plaintiffs assert generally. The master complaint contains seventeen state law claims:
 5     manufacturing defect (Counts I and V); failure to warn (Counts II and VII); design defect
 6     (Counts III and IV); failure to recall (Count VI); misrepresentation (Counts VIII and XII);
 7     negligence per se (Count IX); breach of warranty (Counts X and XI); concealment (Count
 8     XIII); consumer fraud and deceptive trade practices (Count XIV); loss of consortium
 9     (Count XV); and wrongful death and survival (Counts XVI and XVII). Doc. 364 at 34-63.
10     Plaintiffs seek both compensatory and punitive damages. Id. at 63.
11            Plaintiff-specific allegations are contained in individual short-form complaints or
12     certain complaints served on Defendants before the filing of the master complaint. See
13     Docs. 249, 363, 365. Plaintiffs also provided Defendants with profile forms and fact sheets
14     that describe their individual claims and conditions. See Doc. 365.
15            B.     Case Management Orders.
16            The primary orders governing pretrial management of this MDL are a series
17     of CMOs, along with certain amendments. To date, the Court has issued 47 CMOs. These
18     orders are discussed below and can be found on this District’s website at
19     http://www.azd.uscourts.gov/case-info/bard.
20            C.     Lead Counsel.
21            CMO 1, entered October 30, 2015, appointed Co-Lead/Liaison Counsel for
22     Plaintiffs (“Lead Counsel”) to manage the litigation on behalf of Plaintiffs, and set out the
23     responsibilities of Lead Counsel. Doc. 248. Plaintiffs’ Lead Counsel has changed since
24     the inception of the MDL. Mr. Ramon Lopez, of Lopez McHugh, LLP, in Newport Beach,
25     California, and Mr. Mark O’Connor, of Beus Gilbert McGroder PLLC, in Phoenix,
26     Arizona, are now Lead Counsel for Plaintiffs. Doc. 5285. Mr. Richard North of Nelson
27     Mullins Riley & Scarborough, LLP, in Atlanta, Georgia, is Defendants’ Lead Counsel.
28            D.     Plaintiffs’ Steering Committee and Common Benefits Fund.


                                                   -4-
     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         5 of 72 PageID
                                                                 Page 5 #:
                                                                        of 479
                                                                           72



 1            CMO 1 directed the selection and appointment of a Plaintiffs’ Steering Committee
 2     (“PSC”) to assist in the coordination of pretrial activities and trial planning. Plaintiffs’
 3     Lead Counsel and the PSC together form the Plaintiffs’ Leadership Counsel (“PLC”). The
 4     PLC assists all Plaintiffs in the MDL by overseeing discovery, appearing in court, attending
 5     status conferences, and preparing motions and responses regarding case-wide discovery
 6     matters. CMO 1 has been amended to select and appoint a Plaintiffs’ Executive Committee
 7     (“PEC”) to assist Lead Counsel in the administration, organization, and strategic decisions
 8     of the PLC. Doc. 4016. The configuration of the PSC has changed during the course of
 9     the litigation. See Docs. 248, 4016, 5285.
10            CMO 6, entered December 18, 2015, set forth rules, policies, procedures, and
11     guidelines for fees and expenses incurred by attorneys acting for the common benefit of all
12     MDL Plaintiffs. Doc. 372. In May 2019, the Court increased the common benefit
13     attorneys’ fees assessment from 6% to 8%, but declined to increase the 3% assessment for
14     costs. Doc. 18038.
15            Upon transfer, individual Plaintiffs likely will be represented by their own counsel
16     – the attorney or attorneys who filed their original complaint. Plaintiffs’ Lead Counsel, the
17     PSC, the PLC, and the PEC were tasked with managing the MDL for Plaintiffs, not the
18     individual cases upon transfer.
19            E.     Status Conferences.
20            Since the inception of the MDL, the Court has held regular status conferences with
21     Lead Counsel for the parties to discuss issues related to the litigation. The initial case
22     management conference was held in October 2015. Doc. 246. Deadlines were set for,
23     among other things, the filing of master and short-form pleadings, profile forms, a proposed
24     protective order (including Rule 502 provisions), a proposed protocol governing the
25     production of electronically stored information (“ESI”), as well as deadlines to complete
26     first-phase MDL discovery and address privilege log issues. Doc. 249. Thereafter, the
27     Court held periodic status conferences to ensure that the parties were on task and to address
28     routine discovery issues and disputes. In addition to the status conferences, the Court


                                                    -5-
     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         6 of 72 PageID
                                                                 Page 6 #:
                                                                        of 480
                                                                           72



 1     conducted telephone hearings to address time-sensitive issues, as well as numerous
 2     additional conferences to consider various matters such as dispositive motions and general
 3     case management issues.
 4           F.      Discovery.
 5                   1.    General Fact Discovery.
 6           Prior to the establishment of this MDL, Plaintiffs’ counsel had conducted substantial
 7     discovery against Bard concerning all aspects of Bard IVC filters, including the design,
 8     testing, manufacturing, marketing, labeling, and post-market surveillance of the devices.
 9     Bard produced numerous documents and ESI and responded to thousands of written
10     discovery requests, and more than 80 corporate witness depositions were taken. The
11     pre-MDL fact discovery was made available by Bard to all Plaintiffs in the MDL.
12           CMO 8 established a procedure concerning re-deposing witnesses in the MDL.
13     Doc. 519. CMO 14 established deposition protocols generally. Doc. 2239. The Court
14     allowed additional depositions of a handful of corporate witnesses that had been previously
15     deposed, as well as numerous depositions of other Bard corporate witnesses, including
16     several Rule 30(b)(6) depositions. Docs. 3685, 4311. CMO 9 governed the production of
17     ESI and hard-copy documents. Doc. 1259.
18           Discovery in the MDL was separated into phases. The parties completed the first
19     phase of MDL discovery in early 2016. Doc. 519. The first phase included production of
20     documents related to an FDA inspection and warning letter to Bard, an updated production
21     of complaint and adverse event files, and an updated version of Bard’s complaint database
22     relating to IVC filters. Doc. 249. Plaintiffs also conducted a Rule 30(b)(6) deposition
23     concerning the FDA inspection and warning letter, and a deposition of corporate witness
24     Kay Fuller.
25           The parties completed the second phase of fact discovery in February 2017. CMO 8
26     set deadlines for the second phase, which included all common fact and expert issues in
27     the MDL, but not case-specific issues to be resolved after remand or transfer. Docs. 249,
28     519. Second-phase discovery included extensive additional discovery related to Bard’s


                                                  -6-
     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         7 of 72 PageID
                                                                 Page 7 #:
                                                                        of 481
                                                                           72



 1     system architecture for ESI, Bard’s ESI collection efforts, ESI relating to Bard’s IVC
 2     filters, and Bard’s national and regional sales and marketing practices. Plaintiffs also
 3     deposed two corporate witnesses in connection with Kay Fuller’s allegations that a
 4     submission to the FDA regarding the Recovery filter did not bear her original signature.
 5     Doc. 1319 (CMO 10). Plaintiffs deposed additional corporate witnesses concerning the
 6     FDA inspections and warning letter. Id.
 7            Bard also produced discovery regarding the sales and marketing materials related to
 8     the SNF, documents comparing filter performance and failure rates to the SNF, and internal
 9     and regulatory communications relating to the SNF. Docs. 1319, 10489. The Court denied
10     Plaintiffs’ request to obtain ESI discovery from Bard’s overseas operations. Doc. 3398.
11     The Court also denied Defendants’ request to discover communications between Plaintiffs’
12     counsel and NBC news related to stories about the products at issue in this litigation, and
13     third-party financing that may be in place with respect to MDL Plaintiffs. Docs. 3313,
14     3314. Plaintiffs were required to produce communications between Plaintiffs and the FDA
15     related to the FDA warning letter, but the Court denied Defendants’ request to depose
16     Plaintiffs’ counsel regarding these communications. Docs. 3312, 4339. Defendants also
17     produced punitive damages discovery, and Plaintiffs conducted a Rule 30(b)(6) deposition
18     related to Bard’s net worth.
19            All common fact discovery has now been completed, including preservation
20     depositions for certain witnesses who will not be traveling to testify live at the trials of
21     transferred cases. See Docs. 16343, 19959, 21063. Thus, courts receiving these cases need
22     not be concerned with facilitating general fact discovery on remand or transfer.
23                   2.     Case-Specific Discovery.
24            CMO 5 governed initial case-specific discovery and required the parties to exchange
25     abbreviated profile forms. Doc. 365 (as amended by Doc. 927). Plaintiffs were required
26     to provide Defendants with a Plaintiff profile form (“PPF”) that described individual
27     conditions and claims.     Id. at 5-9.   Upon receipt of a substantially complete PPF,
28     Defendants were required to provide the individual Plaintiff with a Defendants’ profile


                                                  -7-
     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         8 of 72 PageID
                                                                 Page 8 #:
                                                                        of 482
                                                                           72



 1     form (“DPF”) that disclosed information and documents concerning Defendants’ contacts
 2     and relationship with Plaintiff’s physicians, tracking and reporting of Plaintiff’s claims,
 3     and certain manufacturing related information for Plaintiff’s filter. Id. at 12-14. Completed
 4     profile forms were considered interrogatory answers under Rule 33 or responses to requests
 5     for production under Rule 34, and were governed by the standards applicable to written
 6     discovery under Rules 26 through 37. Id. at 2-3. CMO 5 also set deadlines and procedures
 7     for resolving any purported deficiencies with the parties’ profile forms, and for dismissal
 8     of cases that did not provide substantially completed profile forms. Id. at 2.2
 9            Further discovery was conducted in a group of 48 cases (“Group 1”) selected for
10     consideration in the bellwether trial process from the pool of cases filed and properly
11     served on Defendants in the MDL as of April 1, 2016 (“Initial Plaintiff Pool”). Docs. 1662,
12     3214, 4311 (CMOs 11, 15, 19). Plaintiffs in Group 1 were required to provide Defendants
13     with a Plaintiff fact sheet (“PFS”) that described their individual conditions and claims in
14     greater detail, and provided detailed disclosures concerning their individual background,
15     medical history, insurance, fact witnesses, prior claims, and relevant documents and
16     records authorizations. Docs. 1153-1, 1662 at 3.
17            Upon receipt of a PFS, Defendants were required to provide the individual Plaintiff
18     with a Defendants fact sheet (“DFS”) that disclosed in greater detail information
19     concerning Defendants’ contacts and relationship with Plaintiff, Plaintiff’s physicians, or
20     anyone on behalf of Plaintiff, Defendants’ tracking and reporting of Plaintiff’s claims, sales
21     and marketing information for the implanting facility, manufacturing information for
22     Plaintiff’s filter, and other relevant documents. Docs. 1153-2, 1662 at 3. Completed fact
23     sheets were considered interrogatory answers under Rule 33 or responses to requests for
24     production under Rule 34, and were governed by the standards applicable to written
25     discovery under Rules 26 through 37. Doc. 1662 at 3. CMO 11 set deadlines and
26     procedures for resolving any purported deficiencies with the parties’ fact sheets. Id. at 2,
27
28            2
              The Court has dismissed certain cases where Plaintiffs failed to provide complete
       PPFs. See Docs. 19874, 20667, 21579.

                                                   -8-
     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         9 of 72 PageID
                                                                 Page 9 #:
                                                                        of 483
                                                                           72



 1     4-5. CMO 12 governed records discovery for Group 1. Doc. 1663. The parties agreed to
 2     use The Marker Group to collect medical, insurance, Medicare, Medicaid, prescription,
 3     Social Security, workers’ compensation, and employment records for individual plaintiffs
 4     from third-parties designated as custodians for such records in the PFS. Id. at 1.
 5            From Group 1, twelve cases were selected for further consideration as bellwether
 6     cases (“Discovery Group 1”). Docs. 1662, 3685, 4311 (CMOs 11, 18, 19). CMO 20 set
 7     deadlines for preliminary case-specific discovery in that group. Doc. 4335. Pursuant to
 8     the protocols set in CMOs 14 and 21, the parties were permitted to depose each Plaintiff,
 9     his or her spouse or a significant family member, the implanting physician, an additional
10     treating physician, and either a Bard sales representative or supervisor. Docs. 2239, 4866
11     at 1-2. From Discovery Group 1, six Plaintiffs were selected for potential bellwether trials
12     and further case-specific discovery (“Bellwether Group 1”). Docs. 1662, 3685, 4311,
13     5770, 11659 (CMOs 11, 18, 19, 23, and 34).
14            Except for the 48 cases in Group 1, the parties did not conduct case-specific fact
15     discovery for the cases listed on Schedule A during the MDL proceedings, other than
16     exchanging abbreviated profile forms. The Court concluded that any additional case-
17     specific discovery in these cases should await their transfer. Thus, courts receiving these
18     cases should set a schedule for the completion of case-specific discovery.
19                   3.     Expert Discovery.
20            CMO 8 governed expert disclosures and discovery. Doc. 519. The parties
21     designated general experts in all MDL cases and case-specific experts in individual
22     bellwether cases. General expert discovery closed July 14, 2017. Doc. 3685 (CMO 18).
23     The parties did not conduct case-specific expert discovery for the cases listed on Schedule
24     A during the MDL proceedings. The Court concluded that case-specific expert discovery
25     in these cases should await their transfer. Thus, courts receiving these cases should set a
26     schedule for the completion of case-specific expert discovery.
27     ///
28     ///


                                                  -9-
     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         10 of 72Page
                                                                  PageID
                                                                      10 #:
                                                                         of 484
                                                                            72



 1                   4.     Privileged Materials.
 2            CMO 2 required Defendants to produce privilege logs in compliance with the
 3     Federal Rules of Civil Procedure. Doc. 249. The parties were then required to engage in
 4     an informal privilege log meet and confer process to resolve any privilege disputes.
 5     Defendants produced several privilege logs identifying documents withheld pursuant to the
 6     attorney-client privilege, the work-product doctrine, and other privileges. The parties
 7     regularly met and conferred regarding the privilege logs and engaged in negotiations
 8     regarding certain entries identified by Plaintiffs. As part of that meet and confer process,
 9     Defendants provided Plaintiffs with a small number of these identified items for inspection
10     and, in some cases, withdrew certain claims of attorney-client privilege and produced the
11     previously withheld items.
12            CMO 3 governed the non-waiver of any privilege or work-product protection in this
13     MDL, pursuant to Federal Rule of Evidence 502(d), by Defendants’ disclosure or
14     production of documents on its privilege logs as part of the meet and confer process. Doc.
15     314.
16            In late 2015, Plaintiffs challenged a substantial number of documents on
17     Defendants’ privilege log. The parties engaged in an extensive meet and confer process,
18     and Defendants produced certain documents pursuant to the Rule 502(d) order. See id.
19     Plaintiffs moved to compel production of 133 disputed documents. The Court granted the
20     motion in part. Doc. 2813. The parties identified several categories of disputed documents
21     and provided sample documents for in camera review. The Court denied Plaintiffs’ motion
22     with respect to seven of eight categories of documents and found only one of the sample
23     documents in one of the categories to contain unprivileged portions that should be
24     produced. The Court found all other documents protected by the attorney-client privilege
25     or work product doctrine. The Court directed the parties to use this ruling as a guide to
26     resolve remaining privilege disputes.
27            Since this ruling, there have been no further challenges to Defendants’ privilege
28     logs. Defendants continued to provide updated privilege logs throughout the discovery


                                                  - 10 -
     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         11 of 72Page
                                                                  PageID
                                                                      11 #:
                                                                         of 485
                                                                            72



 1     process, and the parties met and conferred to resolve privilege disputes. Privilege issues
 2     should not be a concern for courts that receive these cases.
 3                   5.     Protective Order and Confidentiality.
 4            A stipulated protective order governing the designation, handling, use, and
 5     disclosure of confidential discovery materials was entered in November 2015. Doc. 269.
 6     CMO 7, entered January 5, 2016, governed redactions of material from additional adverse
 7     event reports, complaint files, and related documents in accordance with the Health
 8     Insurance Portability Act of 1996 (“HIPAA”) and under 21 C.F.R. § 20.63(f). Doc. 401.
 9            In September 2016, to expedite production of ESI, the parties agreed to a primarily
10     “no-eyes-on” document production as to relevancy while still performing a privilege
11     review for this expedited ESI document production. CMO 17 (Doc. 3372) modified the
12     protections and requirements in the stipulated protective order (Doc. 269) and CMO 7
13     (Doc. 401) for ESI produced pursuant to this process. CMO 17 was amended in November
14     2016. Doc. 4015.
15            Defendants filed a motion to seal certain trial exhibits at the conclusion of the first
16     bellwether trial. Doc. 11010. The Court denied this motion and Defendants’ subsequent
17     motion for reconsideration. Docs. 11642, 11766, 12069. Defendants also filed a motion
18     to enforce the protective order for the second and third bellwether trials collectively. Doc.
19     13126. This motion was denied. Doc. 14446. A list of exhibits admitted at the bellwether
20     trials (excluding case-specific medical records) and documents deemed no longer subject
21     to the protective order are attached as Exhibit 2.
22            G.     Bellwether Cases and Trials.
23            Six Plaintiffs were selected for potential bellwether trials. Docs. 5770, 11659
24     (CMOs 23, 34). The Court held three bellwether trials: Booker, No. 2:16-cv-00474, Jones,
25     No. 2:16-cv-00782, and Hyde, No. 2:16-cv-00893. The Court granted summary judgment
26     in one of the bellwether cases, Kruse, No. 2:15-cv-01634, and removed another from the
27     bellwether trial schedule at the request of Plaintiffs, Mulkey, No. 2:16-cv-00853. Docs.
28     12202, 13329. The final bellwether case, Tinlin, No. 2:16-cv-00263, settled shortly before


                                                   - 11 -
     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         12 of 72Page
                                                                  PageID
                                                                      12 #:
                                                                         of 486
                                                                            72



 1     trial in May 2019. The Court determined that further bellwether trials were not necessary.
 2     Docs. 12853, 13329 (CMOs 38, 40).
 3                       1.    Booker, No. 2:16-cv-00474.
 4              The first bellwether trial concerned Plaintiff Sherr-Una Booker and involved a Bard
 5     G2 filter. The filter had tilted, migrated, and fractured. Plaintiff required open heart
 6     surgery to remove the fractured limbs and repair heart damage caused by a percutaneous
 7     removal attempt. Plaintiff withdrew her breach of warranty claims before Defendants
 8     moved for summary judgment. The Court granted Defendants’ motion for summary
 9     judgment on the claims for manufacturing defects, failure to recall, misrepresentation,
10     negligence per se, and breach of warranty. Docs. 8873, 8874. The remaining claims for
11     failure to warn, design defect, and punitive damages were tried to a jury over a three-week
12     period in March 2018.
13              The jury found for Plaintiff Booker on her negligent failure-to-warn claim, and in
14     favor of Defendants on the design defect and strict liability failure-to-warn claims.
15     Doc. 10595. The jury returned a verdict of $2 million in compensatory damages (of which
16     $1.6 million was attributed to Defendants after apportionment of fault) and $2 million in
17     punitive damages. Id.; Doc. 10596. The Court denied Defendants’ motions for judgment
18     as a matter of law and a new-trial. Docs. 10879, 11598.
19              Defendants appealed, arguing that the Court erred by denying summary judgment
20     on their preemption defense, that a failure-to-warn claim was unavailable, and that the
21     award of punitive damages was not supported by the evidence. See Docs. 11934, 11953.
22     The Ninth Circuit affirmed. See In re Bard IVC Filters Prods. Liab. Litig., No. 18-16349
23     (Doc. 77), 2020 WL 4692349 (9th Cir. Aug. 13, 2020). Defendants’ petition for panel
24     rehearing and rehearing en banc is pending. See No. 18-16349, Doc. 78.3
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27
28              3
                    Plaintiff filed and later dismissed with prejudice a cross-appeal. Docs. 12070,
       17916.

                                                    - 12 -
     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         13 of 72Page
                                                                  PageID
                                                                      13 #:
                                                                         of 487
                                                                            72



 1                   2.     Jones, No. 2:16-cv-00782.
 2            The second bellwether trial concerned Plaintiff Doris Jones and involved a Bard
 3     Eclipse filter. Plaintiffs withdrew the manufacturing defect, failure to recall, and breach of
 4     warranty claims.     The Court granted summary judgment on the misrepresentation,
 5     negligence per se, and unfair trade practices claims. Doc. 10404. The remaining claims
 6     for failure to warn, design defect, and punitive damages were tried to a jury over a
 7     three-week period in May 2018. The jury returned a defense verdict. Doc. 11350. Plaintiff
 8     filed a motion to contact the jurors, which was denied. Docs. 11663, 12068.
 9            Plaintiff appealed the Court’s rulings excluding cephalad migration death evidence.
10     Docs. 12057, 12071. The Ninth Circuit affirmed those rulings. See In re Bard IVC Filters
11     Prods. Liab. Litig., No. 18-16461 (Doc. 51), 2020 WL 4719266, at *1 (9th Cir. Aug. 13,
12     2020). Plaintiff’s petition for rehearing en banc is pending. See No. 18-16461, Doc. 53.
13                   3.     Kruse, No. 2:15-cv-01634.
14            Plaintiff Carol Kruse’s case was set for trial in September 2018. The Court granted
15     Defendants’ summary judgment motion on statute of limitations grounds. Doc. 12202.
16                   4.     Hyde, No. 2:16-cv-00893.
17            The third bellwether trial concerned Plaintiff Lisa Hyde and involved either a Bard
18     G2X or Eclipse filter (the exact model was in dispute). Ms. Hyde’s case was moved to the
19     September 2018 bellwether slot in lieu of Ms. Kruse’s case. Doc. 11867. Plaintiffs
20     withdrew their claims for manufacturing defect and breach of express warranty. The Court
21     granted summary judgment on the claims for breach of implied warranty, failure to warn,
22     failure to recall, misrepresentation, concealment, and fraud. Doc. 12007. The Court also
23     entered judgment in favor of Defendants on the negligence per se claim after concluding
24     that it was impliedly preempted under 21 U.S.C. § 337(a). Doc. 12589. The remaining
25     claims for design defect, loss of consortium, and punitive damages were tried to a jury over
26     three weeks in September 2018. After the close of Plaintiffs’ evidence, the Court granted
27     in part Defendants’ motion for judgment as a matter of law with respect to future damages
28     for any cardiac arrhythmia Ms. Hyde may experience, but denied the motion as to the


                                                   - 13 -
     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         14 of 72Page
                                                                  PageID
                                                                      14 #:
                                                                         of 488
                                                                            72



 1     remaining claims. Doc. 12805. The jury returned a defense verdict. Doc. 12891. Plaintiff
 2     has appealed. Docs. 13465, 13480.
 3                     5.    Mulkey, No. 2:16-cv-00853.
 4            Plaintiff Debra Mulkey’s case involved an Eclipse filter and was set for trial in
 5     February 2019. Before trial, Plaintiffs asked the Court to remove the Mulkey case from
 6     the bellwether trial schedule because it was similar to the Jones and Hyde cases and would
 7     not provide meaningful information to the parties. Doc. 12990. The Court granted the
 8     motion. Doc. 13329.
 9                     6.    Tinlin, No. 2:16-cv-00263.
10            The final bellwether trial concerned Plaintiff Debra Tinlin and involved a Bard
11     Recovery filter. Plaintiffs withdrew their claims for manufacturing defect, failure to recall,
12     negligence per se, and breach of warranty. The Court granted summary judgment on the
13     misrepresentation and deceptive trade practices claims. Doc. 17008. The remaining claims
14     for failure to warn, design defect, concealment, loss of consortium, and punitive damages
15     were scheduled for trial in May 2019, but the case settled.
16            H.       Key Legal and Evidentiary Rulings.
17            The Court has made many rulings in this MDL that could affect the remanded and
18     transferred cases. The Court provides the following summary of key legal and evidentiary
19     rulings to assist the courts that receive these cases.
20                     1.    Medical Monitoring Class Action Ruling.
21            In May 2016, Plaintiffs’ counsel filed a medical monitoring class action that was
22     consolidated with the MDL. See Barraza v. C. R. Bard, Inc., No. 2:16-cv-01374 (D. Ariz.
23     May 5, 2015). The Barraza Plaintiffs moved for class certification for medical monitoring
24     relief on behalf of themselves and classes of individuals who have been implanted with a
25     Bard IVC filter, have not had that filter removed, and have not filed a claim or lawsuit for
26     personal injury related to the filter. Id., Doc. 54. The Court declined to certify the class.
27     Id., Doc. 95.
28


                                                    - 14 -
     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         15 of 72Page
                                                                  PageID
                                                                      15 #:
                                                                         of 489
                                                                            72



 1            The class certification motion recognized that only 16 states permit claims for
 2     medical monitoring. The Court concluded that the classes could not be certified under Rule
 3     23(b)(3) because individual issues would predominate. Id. at 20-21. The Court further
 4     concluded that the class could not be certified under Rule 23(b)(2) because the medical
 5     monitoring relief primarily constituted monetary rather than injunctive relief, and the class
 6     claims were not sufficiently cohesive to permit binding class-wide relief. Id. at 21-32.
 7     Finally, the Court concluded that typicality under Rule 23(a)(3) had not been established.
 8     Id. at 32-34. The Barazza Plaintiffs dismissed their claims without prejudice. Docs. 106,
 9     107. No appeal has been filed.
10                   2.     Federal Preemption Ruling.
11            Defendants moved for summary judgment on the grounds that Plaintiffs’ state law
12     claims are expressly preempted by the Medical Device Amendments of 1976 (“MDA”),
13     21 U.S.C. § 360 et seq., and impliedly preempted by the MDA under the Supreme Court’s
14     conflict preemption principles. Doc. 5396. The Court denied the motion. Doc. 8872.
15            The MDA curtails state regulation of medical devices through a provision that
16     preempts state requirements that differ from or add to federal requirements. 21 U.S.C.
17     § 360k. The Bard IVC filters at issue in this litigation were cleared for market by the FDA
18     through section “510k” review, which focuses primarily on equivalence rather than safety
19     and effectiveness. See § 360c(f)(1)(A).
20            The Supreme Court in Medtronic, Inc. v. Lohr, 518 U.S. 470 (1996), held that
21     § 360k does not preempt state law claims directed at medical devices cleared through
22     the 510(k) process because substantial equivalence review places no federal requirements
23     on a device. Id. at 492-94. Lohr also noted that the “510(k) process is focused on
24     equivalence, not safety.” Id. at 493 (emphasis in original). Although the Safe Medical
25     Devices Act of 1990 (“SMDA”), Pub. L. 101-629, injected safety and effectiveness
26     considerations into 510(k) review, it did so only comparatively. The Court found that Lohr
27     remains good law and that clearance of a product under 510(k) generally does not preempt
28     state common law claims. Doc. 8872 at 12-14.


                                                  - 15 -
     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         16 of 72Page
                                                                  PageID
                                                                      16 #:
                                                                         of 490
                                                                            72



 1            The Court further found that Defendants failed to show that the 510(k) reviews for
 2     Bard IVC filters imposed device-specific requirements as needed for preemption under
 3     § 360k. Id. at 14-20. Even if device-specific federal requirements could be ascertained,
 4     Defendants made no showing that any particular state law claim is expressly preempted by
 5     federal requirements. Id. at 21-22.
 6            The Court concluded that Plaintiffs’ state law claims are not impliedly preempted
 7     because Defendants failed to show that it is impossible to do under federal law what the
 8     state laws require. Id. at 22-24.
 9            Defendants pursued their preemption arguments in the Booker appeal. See Docs.
10     11934, 11953. As noted, the Ninth Circuit affirmed the Court’s preemption ruling. See In
11     re Bard IVC Filters Prods. Liab. Litig., No. 18-16349, 2020 WL 4692349, at *1-6 (9th Cir.
12     Aug. 13, 2020).
13                   3.     The Lehmann Report Privilege and Work Product Rulings.
14            The Court granted Defendants’ motion for a protective order to prevent Plaintiffs
15     from using a December 15, 2004 report of Dr. John Lehmann. Doc. 699. Dr. Lehmann
16     provided various consulting services to Bard at different times. Following Bard’s receipt
17     of potential product liability claims involving the Recovery filter, Bard’s legal department
18     retained Dr. Lehmann in November 2004 to provide an assessment of the risks associated
19     with the Recovery filter and the extent of Bard’s legal exposure. Dr. Lehmann prepared a
20     written report of his findings at the request of the legal department and in anticipation of
21     litigation. The Court found the report to be protected from disclosure by the work product
22     doctrine. Id. at 4-12. The Court further found that Plaintiffs had not shown a substantial
23     need for the report or undue hardship if the report was not disclosed. Id. at 13-15. The
24     Court agreed with the parties that this ruling does not alter any prior rulings by transferor
25     judges in specific cases. Id. at 22.
26                   4.     Daubert Rulings.
27            The Court has ruled on Daubert motions directed at general experts, and refers the
28     remand and transfer courts to the following orders:


                                                  - 16 -
     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         17 of 72Page
                                                                  PageID
                                                                      17 #:
                                                                         of 491
                                                                            72



 1
               Daubert Order                                               Doc. Nos.
 2
 3             Plaintiffs’ Expert Dr. Thomas Kinney                        9428, 10323
 4
               Plaintiffs’ Experts Drs. Scott Resnick, Robert Vogelzang, 9432
 5             Kush Desai, and Robert Lewandowski
 6
 7             Plaintiffs’ Experts Drs. David Kessler and Suzanne 9433
               Parisian
 8
 9             Plaintiffs’ Experts Drs. Thomas Kinney, Anne Christine 9434
               Roberts, and Sanjeeva Kalva
10
11             Plaintiffs’ Expert Dr. Mark Eisenberg                       9770
12
               Plaintiffs’ Expert Dr. Derek Muehrcke                       9771
13
14             Plaintiffs’ Expert Dr. Darren Hurst                         9772
15
16             Plaintiffs’ Expert Dr. Rebecca Betensky                     9773

17
               Defendants’ Expert Dr. Clement Grassi                       9991, 10230
18
19             Plaintiffs’ Expert Dr. Robert McMeeking                     10051, 16992
20
               Plaintiffs’ Expert Dr. Robert Ritchie                       10052
21
22             Plaintiffs’ Experts Drs. David Garcia and Michael Streiff   10072
23
24             Defendants’ Expert Dr. Christopher Morris                   10230, 10231,
                                                                           17285
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                                                - 17 -
     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         18 of 72Page
                                                                  PageID
                                                                      18 #:
                                                                         of 492
                                                                            72



 1                   5.        Motion in Limine Rulings.
 2                             a.    FDA Evidence (Cisson Motion).
 3            In the Booker bellwether trial, Plaintiffs sought to exclude, under Federal Rules of
 4     Evidence 402 and 403, evidence of the FDA’s 510(k) clearance of Bard IVC filters and the
 5     lack of FDA enforcement action against Bard. Doc. 9529. The Court denied the motion.
 6     Docs. 9881, 10323.
 7            The Court found that under Georgia law, which applied in both the Booker and
 8     Jones bellwether cases, compliance with federal regulations may not render a
 9     manufacturer’s design choice immune from liability, but evidence of Bard’s compliance
10     with the 510(k) process was nonetheless relevant to the design defect and punitive damages
11     claims. Doc. 9881 at 3-4. The Court acknowledged concerns that FDA evidence might
12     mislead the jury or result in a mini-trial. Id. at 5-6 (citing In re C.R. Bard, Inc., Pelvic
13     Repair Sys. Prods. Liab. Litig. (Cisson), No. 2:10-CV-01224, 2013 WL 3282926, at *2
14     (S.D.W. Va. June 27, 2013)). But the Court concluded that such concerns could adequately
15     be addressed by efficient management of the evidence and adherence to the Court’s time
16     limits for trial, and, if necessary, by a limiting instruction regarding the nature of the 510(k)
17     process. Id. at 6-7.4
18            The Court noted that the absence of any evidence regarding the 510(k) process
19     would run the risk of confusing the jury, as many of the relevant events in this litigation
20     occurred in the context of the FDA’s 510(k) review of the Bard filters and are best
21     understood in that context. Doc. 9881 at 7. Nor was the Court convinced that all FDA
22     references could adequately be removed from the evidence. Id.
23            The Court further concluded that it would not exclude evidence and arguments by
24     Defendants that the FDA took no enforcement action against Bard with respect to the G2
25     or Eclipse filters, or evidence regarding information Bard provided to the FDA in
26     connection with the 510(k) process. Docs. 10323 at 2-3 (Booker), 11011 at 4-5 (Jones).
27
28            4
              The Court did not find a limiting instruction necessary at the close of either the
       Booker or Jones trials. See Doc. 10694 at 9.

                                                    - 18 -
     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         19 of 72Page
                                                                  PageID
                                                                      19 #:
                                                                         of 493
                                                                            72



 1     The Court found that the evidence was relevant to the negligent design and punitive
 2     damages claims under Georgia law. Id. The Court determined at trial that it had no basis
 3     to conclude that the FDA’s lack of enforcement was intended by the FDA as an assertion,
 4     and therefore declined to exclude the evidence as hearsay. Doc. 10568 at 87.
 5                            b.   FDA Warning Letter.
 6            Defendants moved to exclude evidence of the July 13, 2015 FDA warning letter
 7     issued to Bard. Doc. 9864 at 2-3. The Court granted the motion in part, excluding as
 8     irrelevant topics 1, 2, 4(a), 4(b), 5, 6, 7, and 8 of the warning letter. Docs. 10258 at 6-8
 9     (Booker), 10805 at 1 (Jones), 12736 (Hyde), 17401 at 10 (Tinlin). Topics 1 and 2 concern
10     the Recovery Cone retrieval system; Topic 4(a) concerns the filter cleaning process; and
11     Topics 4(b), 5, 6, 7, and 8 concern the Denali Filter. The Court concluded that none of
12     these topics was relevant to the issues in the bellwether cases involving a G2 filter
13     (Booker), an Eclipse filter (Jones), either a G2X or Eclipse filter (Hyde), and a Recovery
14     filter (Tinlin). Id.
15            The Court deferred ruling on the relevance of topic 3 until trial in all bellwether
16     cases. The Court found that topic 3, concerning Bard’s complaint handling and reporting
17     of adverse events with respect to the G2 and Eclipse filters, as well as the adequacy of
18     Bard’s evaluation of the root cause of the violations, was relevant to rebut the implication
19     at trial that the FDA took no action with respect to Bard IVC filters. See Doc. 10693 at 13-
20     15; Doc. 11256. The Court concluded that the warning letter was admissible under Federal
21     Rule of Evidence 803(8), and was not barred as hearsay. Doc. 10258 at 7. The Court
22     further concluded that the probative value of topic 3 was not substantially outweighed by
23     the danger of unfair prejudice to Bard under Rule 403. Id. The Court admitted the warning
24     letter in redacted form during the three bellwether trials. See Docs. 10565, 11256, 12736.
25     The Court noted that topic 3 included reference to the G2, the filter at issue in Booker, and
26     reached similar conclusions in Jones and Hyde. Doc. 17401 at 11. The parties disputed
27     the relevance of topic 3 in Tinlin because it did not include reference to the Recovery, the
28


                                                  - 19 -
     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         20 of 72Page
                                                                  PageID
                                                                      20 #:
                                                                         of 494
                                                                            72



 1     filter at issue in Tinlin. Id. The Court did not decide this issue because the Tinlin case
 2     settled.
 3                           c.    Recovery Cephalad Migration Death Evidence.
 4            Defendants moved to exclude evidence of cephalad migration (i.e., migration of the
 5     filter toward the patient’s heart) by a Recovery filter resulting in patient death. The Court
 6     denied the motion for the Booker bellwether trial, which involved a G2 filter. Docs. 10258
 7     at 4-5, 10323 at 4.
 8            The Court granted the motion for the Jones bellwether trial, which involved an
 9     Eclipse filter, and denied Plaintiff’s requests for reconsideration of the ruling before and
10     during the trial.     See Docs. 10819, 10920, 11041, 11113, 11256, 11302; see also
11     Doc. 11409 at 94-96. As noted, the Ninth Circuit affirmed the Court’s rulings. See In re
12     Bard IVC Filters Prods. Liab. Litig., No. 18-16461, 2020 WL 4719266, at *1 (9th Cir.
13     Aug. 13, 2020). Plaintiff’s petition for rehearing en banc is pending. See No. 18-16461,
14
       Doc. 53.
15
              The Court granted the motion for the Hyde bellwether trial, which involved either a
16
       G2X or Eclipse filter. Doc. 12533 at 6-7. Plaintiff Hyde has appealed this ruling. Docs.
17
       13465, 13480.
18
              The Court denied Defendants’ motion for the Tinlin bellwether trial, which involved
19
       a Recovery filter. Doc. 17401 at 7-10. The Tinlin case settled before trial.
20
              The Court concluded for purposes of the Booker bellwether trial that evidence of
21
       cephalad migrations by a Recovery filter resulting in patient death was necessary for the
22
       jury to understand the issues that prompted creation and design of the next-generation G2
23
       filter, and thus was relevant to Plaintiff’s design defect claims. Doc. 10323 at 4. In
24
       addition, because the Recovery filter was the predicate device for the G2 filter in
25
       Defendants’ 510(k) submission to the FDA, and Defendants asserted to the FDA that the
26
       G2 was as safe and effective as the Recovery, the Court concluded that the safety and
27
       effectiveness of the Recovery filter was at issue. Id. The Court was concerned, however,
28
       that too heavy an emphasis on deaths caused by cephalad migration of the Recovery filter –


                                                  - 20 -
     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         21 of 72Page
                                                                  PageID
                                                                      21 #:
                                                                         of 495
                                                                            72



 1     a kind of migration which did not occur in the G2 filter generally or the Booker case
 2     specifically – would result in unfair prejudice to Defendants that substantially outweighed
 3     the probative value of the evidence. Id. Defendants did not object during trial that
 4     Plaintiffs were over-emphasizing the death evidence.
 5            The Court initially concluded for purposes of the Jones bellwether trial, which
 6     involved an Eclipse filter, that evidence of cephalad migration deaths by the Recovery filter
 7     was inadmissible because it was only marginally relevant to Plaintiff’s claims and its
 8     marginal relevancy was substantially outweighed by the risk of unfair prejudice. See Docs.
 9     10819, 10920, 11041, 11113, 11256, 11302. This is because cephalad migration did not
10     continue in any significant degree beyond the Recovery filter; cephalad migration deaths
11     all occurred before the Recovery was taken off the market in late 2005; Ms. Jones did not
12     receive her Eclipse filter until 2010; the Recovery-related deaths said nothing about three
13     of Ms. Jones’ four claims (strict liability design defect and the failure to warn claims); and
14     instances of cephalad migration deaths were not substantially similar to complications
15     experienced by Ms. Jones and therefore did not meet the Georgia standard for evidence on
16     punitive damages. Docs. 10819, 11041.
17            The Court also found that deaths caused by a non-predicate device (the Recovery
18     was not the predicate device for the Eclipse in Defendants’ 510(k) submission), and by a
19     form of migration that was eliminated years earlier, were of sufficiently limited probative
20     value that their relevancy was substantially outweighed by the danger of unfair prejudice
21     because the death evidence may prompt a jury decision based on emotion. Id. The Court
22     further concluded that Plaintiff Jones would not be seriously hampered in her ability to
23     prove Recovery filter complications, testing, and design when references to cephalad
24     migration deaths are removed. Doc. 11041. As a result, the Court held that such references
25     should be redacted from evidence presented during the Jones trial.
26            The Court balanced this concern with the competing concern that it would be unfair
27     for Defendants to present statistics about the Recovery filter and not allow Plaintiffs to
28     present competing evidence that included Recovery deaths. See, e.g., Doc. 11391 at 12.


                                                   - 21 -
     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         22 of 72Page
                                                                  PageID
                                                                      22 #:
                                                                         of 496
                                                                            72



 1     Based on this concern, Plaintiffs argued at various points during the trial that Defendants
 2     had opened the door to presenting evidence about Recovery cephalad migration deaths.
 3     The Court repeatedly made fact-specific determinations on this point, holding that even
 4     though Defendants presented some evidence that made the Recovery evidence more
 5     relevant, the danger of unfair prejudice continued to substantially outweigh the probative
 6     value of the cephalad migration death evidence. See Docs. 11113, 11302; see also Doc.
 7     11409 at 94-96.
 8             The Court concluded for purposes of the Hyde bellwether trial, which involved
 9     either a G2X or Eclipse filter, that evidence of Recovery filter cephalad migration deaths
10     should be excluded under Rule 403 for the reasons identified in the Jones bellwether trial.
11     Doc. 12533 at 6-7. The Court concluded that this evidence had marginal relevance to
12     Plaintiff’s claims because Ms. Hyde received either a G2X or Eclipse filter, two or three
13     generations after the Recovery filter; Ms. Hyde did not receive her filter until 2011, more
14     than five years after cephalad migration deaths stopped when the Recovery was taken off
15     the market; the deaths did not show that G2X or Eclipse filters – which did not cause
16     cephalad migration deaths – had design defects when they left Defendants’ control; nor did
17     the cephalad migration deaths, which were eliminated by design changes in the G2, shed
18     light on Defendants’ state of mind when designing and marketing the G2X and Eclipse
19     filters. Id. at 7.
20             The Court concluded for purposes of the Tinlin bellwether trial, which involved a
21     Recovery filter, that Recovery deaths and Defendants’ knowledge of those deaths were
22     relevant to Plaintiffs’ design defect claim under Wisconsin law because they went directly
23     to the Recovery’s foreseeable risks of harm and whether it was unreasonably dangerous.
24     Doc. 17401 at 7-8. The Court also concluded that the Recovery death evidence was
25     relevant to Plaintiffs’ failure to warn and concealment claims because it was probative on
26     the causation issue – that is, whether her treating physician would have selected a different
27     filter for Ms. Tinlin had he been warned about the Recovery’s true risks, as Plaintiffs
28     describe them. Id. at 8. In addition, because this evidence would be used to impeach expert


                                                  - 22 -
     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         23 of 72Page
                                                                  PageID
                                                                      23 #:
                                                                         of 497
                                                                            72



 1     testimony from Defendants that the Recovery filter was safe and effective, the Court
 2     concluded that substantial similarity was not required. Id. at 8-9. The Court further
 3     concluded that the death evidence was relevant to Bard’s state of mind and to show the
 4     reprehensibility of its alleged conduct for purposes of punitive damages. Id. at 9-10. The
 5     Court reached a different conclusion in the Jones and Hyde cases because cephalad
 6     migration deaths stopped when the Recovery was taken off the market in 2005, and the
 7     deaths shed little light on Defendants’ state of mind when marketing different, improved
 8     filters years later. Id. at 9 n.4. As noted, the Tinlin case settled before trial.
 9                           d.      SNF Evidence.
10            Plaintiffs sought to exclude evidence of complications associated with the SNF,
11     claiming that they were barred from conducting relevant discovery into the design and
12     testing of the SNF under CMO 10. Doc. 10487; see Doc. 1319. The Court denied
13     Plaintiffs’ request. Doc. 10489. The Court did not agree that Plaintiffs were foreclosed
14     from obtaining relevant evidence for rebuttal. The Court foreclosed this discovery because
15     Plaintiffs did not contend that the SNF was defective. Id. at 2. Plaintiffs also had rebuttal
16     evidence showing that reported failure rates for SNF were lower than Recovery and G2
17     failure rates. Id. The Court ultimately concluded it would not preclude Defendants from
18     presenting its SNF evidence on the basis of a discovery ruling and permitted Plaintiffs to
19     make appropriate evidentiary objections at trial. Id. at 3.
20                           e.      Use of Testimony of Withdrawn Experts.
21            Defendants sought to preclude Plaintiffs’ use at trial of the depositions of three
22     defense experts – Drs. Moritz, Rogers, and Stein – who originally were retained by Bard
23     but were later withdrawn in some or all cases. Doc. 10255 at 2. The Court denied the
24     request in part. Doc. 10382. The Court found that Defendants failed to show that the
25     depositions of these experts were inadmissible on hearsay grounds, but agreed that it would
26     be unfairly prejudicial under Rule 403 to disclose to the jury that the experts originally
27     were retained by Bard. Id. at 2-3. The Court therefore concluded that Plaintiffs could use
28     portions of the experts’ depositions that support Plaintiffs’ claims, but could not disclose


                                                    - 23 -
     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         24 of 72Page
                                                                  PageID
                                                                      24 #:
                                                                         of 498
                                                                            72



 1     to the jury that the experts originally were retained by Bard. Id. at 3. The Court was
 2     concerned about the presentation of cumulative evidence, and therefore required Plaintiffs
 3     to show that no other expert of similar qualifications was available or that the unavailable
 4     expert had some unique testimony to contribute, before the deposition of any withdrawn
 5     expert could be used at trial. Id. at 3-4.
 6                           f.      Other Motion in Limine Rulings.
 7            Other motion in limine (“MIL”) rulings may be useful to the receiving courts. See
 8     Docs. 10075, 10235, 10258, 10947. The courts are referred to the following motions and
 9     orders to assist in preparing for trial:5
10
              • Parties’ Joint Stipulation on MILs in Booker: The Court, on stipulation of the
11              parties, excluded evidence concerning several case-specific issues in the Booker
                bellwether trial, as well as a few general issues, including: Bard’s 1994 criminal
12              conviction; other lawsuits or claims against Bard; advertising by Plaintiff’s
                counsel; Plaintiff’s counsel specializing in personal injury or products liability
13              litigation; contingency fee agreements; and advertising by any counsel
14              nationally for IVC filter cases. Doc. 10235.

15            • Defendants MIL 1 in Booker: The Court permitted evidence and testimony
                concerning Recovery complications. Doc. 10258 at 1-5; see Doc. 10819 (Jones).
16              As noted above, the Court permitted evidence and testimony concerning
                Recovery filter cephalad migration deaths in the Booker bellwether trial
17              involving a G2 filter (Doc. 10323 at 4), but excluded such evidence in the trials
                involving a G2X or Eclipse filter (Docs. 10819, 10920, 11041).
18
              • Defendants’ MIL 2 in Booker: The Court permitted evidence and testimony
19              relating to the development of the Recovery filter. Doc. 10258 at 5-6; see
                Doc. 10819 at 2-3 (Jones).
20
              • Defendants’ MIL 4 in Booker: The Court excluded evidence and testimony
21              concerning a photograph of Bard employee Michael Randall making an
                offensive gesture. Doc. 10075 at 1-2.
22
              • Defendants’ MIL 5 in Booker: The Court permitted Plaintiff’s expert
23              Dr. Thomas Kinney to be called as a fact witness, but prohibited him from
                testifying regarding his prior work for Bard as an expert witness in two prior
24              IVC filter cases or as a paid consultant to Bard. Docs. 10075 at 2-3, 10323 at 4.
25
26
              5
                The Court also ruled on the parties’ MILs concerning several case-specific issues.
27     See Docs. 10075 (Plaintiff’s MIL 12 in Booker), 10258 (Plaintiff’s’ MILs 6 and 13 in
       Booker), 10947 (Defendants’ MIL 1 and Plaintiff’s MILs 1-4 and 7 in Jones), 12533
28     (Plaintiff’s MIL 3 in Hyde), 17285 (Plaintiff’s MIL 1 in Tinlin), 17401 (Plaintiff’s MILs
       2, 3, and 6 in Tinlin).

                                                    - 24 -
     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         25 of 72Page
                                                                  PageID
                                                                      25 #:
                                                                         of 499
                                                                            72



 1            • Plaintiff’s MIL 2 in Booker: The Court reserved ruling until trial on evidence
                and testimony regarding the nature of Bard’s business, including the nature,
 2              quality, and usefulness of its products, the conscientiousness of its employees,
                and references to its mission statement. Doc. 10075 at 3-4.
 3
              • Plaintiff’s MIL 3 in Booker: The Court permitted evidence and testimony
 4              concerning the benefits of IVC filters, including testimony describing Bard
                filters as “lifesaving” devices. Doc. 10258 at 8.
 5
              • Plaintiff’s MIL 4 in Booker: The Court permitted evidence and testimony that
 6              IVC filters, including Bard’s filters, are within the standard of care for the
 7              medical treatment of pulmonary embolism. Doc. 10258 at 8-9. Defendants
                agreed to not characterize IVC filters as the “gold standard” for the treatment of
 8              pulmonary embolisms. Id. at 8.

 9            • Plaintiff’s MIL 5 in Booker: The Court denied as moot the motion to exclude
                evidence and argument relating to failure rates, complication rates, percentages,
10              or comparative analysis of any injuries that were not produced to Plaintiffs
                during discovery, as all such information was produced. Doc. 10075 at 4.
11
              • Plaintiff’s MIL 7 in Booker: The Court excluded evidence and argument
12              relating to prior judicial opinions about Plaintiffs’ experts, including the number
                of times their testimony has been precluded in other cases. Id.
13
              • Plaintiff’s MIL 8 in Booker: The Court excluded evidence and argument that
14              a verdict against Defendants will have an adverse impact on the medical
                community, future medical device research or costs, and the availability of
15              medical care. Id. at 4-5.
16            • Plaintiff’s MIL 9 in Booker: The Court deferred ruling on the relevance of
                statements or lack of statements from medical societies, including the Society of
17              Interventional Radiologists (“SIR”), until trial. Doc. 10258 at 14-18. The Court
                ultimately admitted this evidence in both the Booker and Jones bellwether trials.
18
19            • Plaintiff’s MIL 10 in Booker: The Court excluded evidence and testimony that
                Bard needed FDA consent to add warnings to its labels, send warning letters to
20              physicians and patients, or recall its filters. Id. at 18-19. The Court permitted
                evidence and argument explaining the reasons why Bard filters were not
21              recalled, FDA’s potential involvement in any recall effort, and the fact that
                warnings about failure rates and increased risks could not be based on MDR and
22              MAUDE data alone. Id.

23            • Plaintiff’s MIL 11 in Booker: The Court permitted evidence and argument
                relating to the informed consent form signed by Plaintiff prior to insertion of the
24              IVC filter, even though the form is not specific to IVC filters or Bard filters.
                Doc. 10075 at 5-6.
25
              • Plaintiff’s MIL 14 in Booker: The Court reserved ruling until trial on evidence
26              and argument relating to background information and personal traits of Bard
                employees and witnesses. Id. at 7.
27
              • Plaintiff’s MIL 6 in Jones: The Court permitted evidence and testimony
28              concerning whether a party’s expert had been retained by the same attorneys in
                other litigation. Doc. 10947 at 8-9.

                                                  - 25 -
     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         26 of 72Page
                                                                  PageID
                                                                      26 #:
                                                                         of 500
                                                                            72



 1            • Plaintiff’s MIL 5 in Jones: The Court excluded evidence and testimony that
                Bard employees or their relatives have received Bard IVC filter implants. Id. at
 2              9-10.
 3            • Defendants’ MIL 2 in Jones: The Court excluded evidence and testimony of
                other lawsuits against Bard. Id. at 11.
 4
              • Plaintiff’s MILs 4 and 5 in Hyde: The Court permitted evidence and testimony
 5              concerning Bard’s Instructions for Use (“IFU”) and SIR Guidelines. Doc.
                12507.
 6
 7            • Plaintiff’s MIL 2 in Hyde: The Court permitted evidence and testimony
                concerning “The Surgeon General’s Call to Action to Prevent Deep Vein
 8              Thrombosis and Pulmonary Embolism.” Doc. 12533 at 4-6.

 9            • Defendants’ MIL 3 in Hyde: The Court permitted evidence and testimony that
                Bard’s SNF is a reasonable alternative design. Id. at 7.
10
              • Defendants’ MIL 4 in Hyde: The Court excluded testimony from Dr.
11              Muehrcke about his personal feelings of betrayal and his moral and ethical issues
                with Bard’s conduct. Id. at 7-8.
12
              • Defendants’ MIL 6 in Hyde: The Court permitted evidence and testimony
13              regarding informed consent. Id. at 8-9.
14            • Plaintiff’s MIL 4 in Tinlin: The Court reserved ruling until trial on evidence
                and argument relating to a chart created by Defendants from their internal
15              TrackWise database regarding reporting rates of IVC filter complications. Doc.
                17401 at 5.
16
              • Plaintiff’s MIL 5 in Tinlin: The Court permitted evidence and testimony
17              concerning a chart comparing the sales of the permanent SNF with those of
                retrievable filters between 2002 and 2016. Id. at 5-6.
18
19            • Defendants’ MIL 3 in Tinlin: The Court permitted evidence and testimony
                concerning the Recovery Filter Crisis Communications Plan that Bard had
20              prepared in 2004 to help manage damaging media coverage about a Recovery
                migration death. Id. at 11-12.
21
              • Defendants’ MIL 4 in Tinlin: The Court excluded evidence and testimony
22              concerning Dr. Muehrcke’s untimely disclosed opinion that one of his patients
                died from cardiac tamponade caused by a fractured strut that had embolized to
23              her heart. Id. at 12-13.
24     ///
25     ///
26     ///
27     ///
28     ///


                                                 - 26 -
     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         27 of 72Page
                                                                  PageID
                                                                      27 #:
                                                                         of 501
                                                                            72



 1                     6.       Deposition Designation Rulings.
 2            The Court has ruled on numerous objections to deposition designations for trial and
 3     refers the transferor courts to the following orders:6
 4
 5                Deponent                                  Depo. Date     Doc. No(s).
 6                Bill Altonaga                             10/22/2013     10497, 10922
 7
                  Christine Brauer                          05/23/2014     10922,
 8
                                                            08/02/2017     10922
 9
                  David Ciavarella                          11/12/2013     10403
10
                  Gary Cohen                                01/25/2017     10438
11
12                Robert Cortelezzi                         11/11/2016     10438, 11064
13                Len DeCant                                05/24/2016     10438, 11080
14
                  John DeFord                               06/02/2016     10524, 11080
15
                  Mary Edwards                              01/20/2014     10438
16
                  Robert Ferrara                            04/17/2017     10438
17
18                Chris Ganser                              10/11/2016     10438, 11073

19                Jason Greer                               08/11/2014     10438, 10922
20                Janet Hudnall                             11/01/2013     10403
21
                  Brian Hudson                              01/17/2014     10403
22
                  John Lehmann                              08/07/2014     10922
23
24                William Little                            07/27/2016     10438, 11064

25                John McDermott                            02/05/2014     10438
26
27
28            6
              In addition to the depositions identified in the table above, the Court ruled on
       numerous objections to case-specific deposition designations for trial.

                                                   - 27 -
     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         28 of 72Page
                                                                  PageID
                                                                      28 #:
                                                                         of 502
                                                                            72



 1
               Deponent                                    Depo. Date        Doc. No(s).
 2
               Patrick McDonald                            07/29/2016        10486, 11064
 3
 4             Mark Moritz                                 07/18/2017        10922

 5             Daniel Orms                                 08/16/2016        10403, 11073
 6             Abithal Raji-Kubba                          07/18/2016        11064
 7
               Gin Schulz                                  01/30/2014        10403
 8
               Christopher Smith                           08/03/2017        11073
 9
10             William Stavropoulos                        02/01/2017        10524

11             Jack Sullivan                               11/03/2016        10486,
12                                                         09/16/2016        11080

13             Melanie Sussman                             04/07/2017        11073
14             Mehdi Syed                                  03/02/2018        11313
15
               Scott Trerotola                             01/20/2017        10524
16
               Douglas Uelmen                              10/04/2013        10403, 11080
17
18             Carol Vierling                              05/11/2016        10486, 11073

19             Mark Wilson                                 01/31/2017        10922
20             Natalie Wong                                10/18/2016        10403
21
               John Worland                                03/16/2011        17582
22
23
                     7.     Subject Matter Jurisdiction Ruling.
24
              The parties identified cases in the MDL for which federal subject matter jurisdiction
25
       does not exist. Docs. 20210, 21410, 21552. No federal question jurisdiction exists under
26
       28 U.S.C. § 1331 because the master complaint asserts no federal claim and the state law
27
       claims alleged in the complaint do not depend on the resolution of a federal law question.
28
       Doc. 364 ¶¶ 166-349. For purposes of diversity jurisdiction under 28 U.S.C. § 1332,


                                                  - 28 -
     Case:
      Case3:20-cv-00262-MPM-JMV
           2:15-md-02641-DGC Document
                                Doc #: 521589
                                         Filed: 09/18/20
                                                 Filed 09/10/20
                                                         29 of 72Page
                                                                  PageID
                                                                      29 #:
                                                                         of 503
                                                                            72



 1     Defendant C. R. Bard, Inc. is a citizen of New Jersey and Defendant Bard Peripheral
 2     Vascular, Inc. is a citizen of Arizona. See id. ¶¶ 11-12. Thus, complete diversity between
 3     the parties does not exist in any case where each Defendant is a named party and Plaintiff
 4     is a resident of either Arizona or New Jersey. See Doc. 20210-1.
 5            Plaintiffs in most of the cases without subject matter jurisdiction agreed to a
 6     dismissal without prejudice. See id. Plaintiffs in other cases opposed dismissal, but
 7     provided no reason why the cases should not be dismissed. See id. The Court dismissed
 8     without prejudice multiple cases for lack of subject matter jurisdiction. See Docs. 20667,
 9     21461, 21579. Some of these cases may be refiled in state court. See Doc. 20210-1.
10            I.     Further Proceedings in Remanded or Transferred Cases.
11                   1.      General Discovery.
12            Because all general fact and expert discovery has been completed in this MDL, the
13     courts receiving these cases need not be concerned with facilitating general expert,
14     corporate, and third-party discovery. This observation is not meant to restrict the power of
15     transferee courts for good cause or in the interest of justice to address issues that may be
16     unique and relevant in a remanded or transferred case.
17                   2.      Case-Specific Discovery and Trial Preparation.
18            According to the parties, the status of the remaining discovery and other pretrial
19     issues for the cases being transferred, and the estimated time needed to resolve such issues
20     and make the cases ready for trial, will be determined after transfer. Final trial preparation
21     in the bellwether trials was governed by certain Court orders. See Docs. 8871, 10323,
22     10587, 11011, 11320, 11321, 11659, 11871, 12061, 12853, 12971.
23            J.     Documents to Be Sent to Transferee Courts.
24            The Court has concluded that the cases listed on Schedule A should be transferred
25     to appropriate districts pursuant to 28 U.S.C. § 1404(a). Upon receipt of this transfer order,
26     the Clerk for this District shall issue a letter to the transferee courts, via email, setting out
27     the process for transferring the case. The letter and certified copy of this transfer order will
28     be sent to the transferee courts’ email addresses.


                                                    - 29 -
Case: 3:20-cv-00262-MPM-JMV Doc #: 5 Filed: 09/18/20 30 of 72 PageID #: 504
  Case:
   Case3:20-cv-00262-MPM-JMV
        2:15-md-02641-DGC Document
                             Doc #: 521589
                                      Filed: 09/18/20
                                              Filed 09/10/20
                                                      31 of 72Page
                                                               PageID
                                                                   31 #:
                                                                      of 505
                                                                         72

      In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641

                       TRANSFER ORDER (FOURTH)
                Schedule A – Direct-Filed Cases to Be Transferred
                              (September 10, 2020)


                Case Caption                      Case Number    Transferee District
David L. Ball v. C.R. Bard, Inc.                 2:17-cv-01681   Ala. N.D.
Rickey Scott v. C.R. Bard, Inc.                  2:19-cv-04063   Ala. S.D.
Nicholas Blake Norton v. C.R. Bard, Inc.         2:17-cv-01900   Ala. S.D.
Rita Rundel v. C.R. Bard, Inc.                   2:19-cv-04235   Ark. E.D.
Scottie C. Wolford v. C.R. Bard, Inc.            2:19-cv-01250   Ark. W.D.
Shirely Ann Howard v. C.R. Bard, Inc.            2:17-cv-01734   Ark. W.D.
Chleora Kay Bergquist v. C.R. Bard, Inc.         2:19-cv-03942   Cal. N.D.
Alvis Edwards Deeds v. C.R. Bard, Inc.           2:19-cv-04272   Colo.
Lisa Monique Wilkins v. C.R. Bard, Inc.          2:19-cv-03932   DC
Nicole Subryan v. C.R. Bard, Inc.                2:17-cv-01729   DC
Debra Ann Skinner v. C.R. Bard, Inc.             2:17-cv-02409   DC
Sandra L. Olio v. C.R. Bard, Inc.                2:19-cv-03739   Fla M.D.
Deborah St. John, Personal Representative for
                                                 2:19-cv-03951   Fla. M.D.
Sloan Christiansen v. C. R. Bard, Inc.
Sherry Lynn Black Goodrow v. C.R. Bard, Inc.     2:18-cv-00406   Fla. M.D.
Robert Lee Felder v. C.R. Bard, Inc.             2:19-cv-03728   Fla. M.D.
Tammy Lynn Young v. C.R. Bard, Inc.              2:19-cv-03989   Fla. M.D.
Ross A. Grey v. C.R. Bard, Inc.                  2:17-cv-04030   Fla. M.D.
Kenneth Ivan Holbrook v. C.R. Bard, Inc.         2:19-cv-01234   Fla. M.D.
Iarzella Marthe Dennard v. C.R. Bard, Inc.       2:19-cv-01539   Fla. M.D.
James Wesley Jordan v. C.R. Bard, Inc.           2:19-cv-04110   Fla. S.D.
Edmund Lucarelli, Jr. v. C.R. Bard, Inc.         2:18-cv-03675   Fla. S.D.
Prudence Peterson v. C.R. Bard, Inc.             2:18-cv-02090   Fla. S.D.
Theresa Melvin Mounsey v. C.R. Bard, Inc.        2:17-cv-02415   Fla. S.D.
Carmen Delia Burgos v. C.R. Bard, Inc.           2:19-cv-02898   Fla. S.D.
Steven Rogers v. C.R. Bard, Inc.                 2:17-cv-04083   Ga. N.D.


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  Case:
   Case3:20-cv-00262-MPM-JMV
        2:15-md-02641-DGC Document
                             Doc #: 521589
                                      Filed: 09/18/20
                                              Filed 09/10/20
                                                      32 of 72Page
                                                               PageID
                                                                   32 #:
                                                                      of 506
                                                                         72

      In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641

                        TRANSFER ORDER (FOURTH)
                 Schedule A – Direct-Filed Cases to Be Transferred
                               (September 10, 2020)


                 Case Caption                      Case Number    Transferee District
Anthony Jackson v. C.R. Bard, Inc.                2:19-cv-01467   Ga. N.D.
Mark Daniel Dills v. C.R. Bard, Inc.              2:19-cv-01512   Ga. N.D.
Lauren Kent v. C.R. Bard, Inc.                    2:19-cv-04076   Ga. S.D.
Nancy Harmon v. C.R. Bard, Inc.                   2:19-cv-00721   Ga. S.D.
Linda Jenkins v. C.R. Bard, Inc.                  2:18-cv-03935   Iowa N.D.
Troy McKittrick v. C.R. Bard, Inc.                2:19-cv-03231   Ill. C.D.
Karen Jandula v. C.R. Bard, Inc.                  2:19-cv-02305   Ill. N.D.
Richard Jason West v. C. R. Bard, Inc.            2:19-cv-03303   Ill. N.D.
Delores Watson v. C.R. Bard, Inc.                 2:17-cv-03990   Ind. S.D.
Adam Kyle Fisher v. C.R. Bard, Inc.               2:17-cv-02805   Ind. S.D.
Joanie Hansford, as Administrator of the Estate
                                                  2:19-cv-01526   Kan.
of Michele Hansford v. C. R. Bard, Inc.
Kristi G. Bailey v. C.R. Bard, Inc.               2:17-cv-04029   Ky. E.D.
Phyllis Rae Steinhoff v. C.R. Bard, Inc.          2:19-cv-03965   Ky. W.D.
Reba Carter v. C.R. Bard, Inc.                    2:19-cv-01457   Ky. W.D.
Michael J. Palmer v. C.R. Bard, Inc.              2:19-cv-04227   La. E.D.
Wayne Francis Melancon, Sr. v. C.R. Bard, Inc. 2:17-cv-01733      La. E.D.
Marc J. Houle v. C.R. Bard, Inc.                  2:17-cv-01705   Mass.
Kandy Carpenter v. C.R. Bard, Inc.                2:19-cv-01525   Mich. E.D.
Thomas Orest v. C.R. Bard, Inc.                   2:17-cv-04095   Minn.
Naomi Gardner v. C.R. Bard, Inc.                  2:19-cv-04294   Mo. W.D.
Penni Hendrickson v. C.R. Bard, Inc.              2:19-cv-04073   Mo. W.D.
Kathy Lucille Spencer v. C.R. Bard, Inc.          2:19-cv-03944   Mo. W.D.
Lisa Johnson v. C.R. Bard, Inc.                   2:19-cv-02001   Mo. W.D.
Sarah Rosalie Mobley v. C.R. Bard, Inc.           2:17-cv-02239   Mo. W.D.
Sandra Risner v. C.R. Bard, Inc.                  2:19-cv-02136   Miss. N.D.


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  Case:
   Case3:20-cv-00262-MPM-JMV
        2:15-md-02641-DGC Document
                             Doc #: 521589
                                      Filed: 09/18/20
                                              Filed 09/10/20
                                                      33 of 72Page
                                                               PageID
                                                                   33 #:
                                                                      of 507
                                                                         72

      In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641

                        TRANSFER ORDER (FOURTH)
                 Schedule A – Direct-Filed Cases to Be Transferred
                               (September 10, 2020)


                 Case Caption                      Case Number    Transferee District
Shari Alaine Maresh v. C.R. Bard, Inc.            2:19-cv-01632   N.C. E.D.
Kristine Louise Allsbury v. C.R. Bard, Inc.       2:19-cv-03781   N.C. M.D.
Jeremy Gates v. C.R. Bard, Inc.                   2:19-cv-01498   N.C. W.D.
Nichols R. Garon v. C.R. Bard, Inc.               2:19-cv-01238   N.H.
Buntricia Bastian v. C.R. Bard, Inc.              2:19-cv-00369   Nev.
Michael Campobasso v. C.R. Bard, Inc.             2:19-cv-01575   Nev.
Carolyn Sue Cuyler v. C.R. Bard, Inc.             2:17-cv-01704   Nev.
Kevin Carenza v. C.R. Bard, Inc.                  2:19-cv-03979   N.Y. E.D.
Clyde Solomon v. C.R. Bard, Inc.                  2:19-cv-01466   N.Y. E.D.
Christopher Beasock v. C.R. Bard, Inc.            2:19-cv-01465   N.Y. E.D.
Jimmy Reed Dillard, Jr. v. C.R. Bard, Inc.        2:19-cv-04273   N.Y. N.D.
Marie Spencer v. C.R. Bard, Inc.                  2:19-cv-04053   N.Y. S.D.
Agnes Roberts v. C.R. Bard, Inc.                  2:17-cv-00138   N.Y. S.D.
Gloria Cleveland v. C.R. Bard, Inc.               2:19-cv-04179   N.Y. W.D.
Deborah S. Hamby v. C.R. Bard, Inc.               2:19-cv-01449   N.Y. W.D.
Kimberly Roberts v. C.R. Bard, Inc.               2:18-cv-02828   Ohio N.D.
Sherrie Lynn Butler v. C.R. Bard, Inc.            2:17-cv-01142   Ohio N.D.
Jeramey Kohar v. C.R. Bard, Inc.                  2:19-cv-01780   Ohio S.D.
Edward Schaab v. C.R. Bard, Inc.                  2:19-cv-02133   Ohio S.D.
Keyon Phillip Williams v. C.R. Bard, Inc.         2:17-cv-00606   Ohio S.D.
Keith L. Bryant v. C.R. Bard, Inc.                2:17-cv-01703   Ohio S.D.
Jessica Jean Johnson v. C.R. Bard, Inc.           2:17-cv-01706   Ohio S.D.
Adlen June Silas v. C.R. Bard, Inc.               2:17-cv-01707   Ohio S.D.
Tina M. Savage v. C.R. Bard, Inc.                 2:17-cv-01731   Ohio S.D.
William Dennie Evans, III v. C.R. Bard, Inc.      2:17-cv-01816   Ohio S.D.
Lillie Elizabeth Wilburn v. C.R. Bard, Inc.       2:17-cv-02555   Ohio S.D.


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  Case:
   Case3:20-cv-00262-MPM-JMV
        2:15-md-02641-DGC Document
                             Doc #: 521589
                                      Filed: 09/18/20
                                              Filed 09/10/20
                                                      34 of 72Page
                                                               PageID
                                                                   34 #:
                                                                      of 508
                                                                         72

      In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641

                        TRANSFER ORDER (FOURTH)
                 Schedule A – Direct-Filed Cases to Be Transferred
                               (September 10, 2020)


                 Case Caption                      Case Number    Transferee District
Rudy Headley v. C.R. Bard, Inc.                   2:19-cv-01497   Okla. W.D.
William Murphy v. C.R. Bard, Inc.                 2:19-cv-04233   Pa. E.D.
Douglas J. Dohan v. C.R. Bard, Inc.               2:19-cv-04069   Pa. E.D.
Justin Ubel v. C.R. Bard, Inc.                    2:19-cv-02073   Pa. E.D.
Rachel Evans v. C.R. Bard, Inc.                   2:19-cv-04225   Pa. M.D.
Clinton Elliott Hufnagle v. C.R. Bard, Inc.       2:19-cv-03244   Pa. M.D.
Jeanette McFarland v. C.R. Bard, Inc.             2:19-cv-01511   Pa. W.D.
James O. Roberts v. C.R. Bard, Inc.               2:19-cv-03625   S.C.
Charles Ronald Finch v. C.R. Bard, Inc.           2:19-cv-01533   S.C.
Bruce R. Cunningham v. C.R. Bard, Inc.            2:19-cv-01236   Tex. E.D.
Franky Williams v. C.R. Bard, Inc.                2:19-cv-04070   Tex. N.D.
Bryon Kelly Rieken v. C.R. Bard, Inc.             2:19-cv-04061   Tex. N.D.
Dale Anthony Hall v. C.R. Bard, Inc.              2:19-cv-04058   Tex. N.D.
Alejandro G. Santana v. C.R. Bard, Inc.           2:18-cv-02264   Tex. S.D.
James Shutter v. C.R. Bard, Inc.                  2:19-cv-03345   Tex. S.D.
Melissa Jane Sepeda v. C.R. Bard, Inc.            2:18-cv-01585   Tex. S.D.
Edward Lee Smith v. C.R. Bard, Inc.               2:19-cv-01630   Tex. W.D.
Charles Henry Wand v. C.R. Bard, Inc.             2:19-cv-02098   Tex. W.D.
Robert John Allsopp v. C.R. Bard, Inc.            2:19-cv-04049   Tex. W.D.
Peggy Sue Clarke v. C.R. Bard, Inc.               2:19-cv-03727   Va. E.D.
David S. Breeden v. C.R. Bard, Inc.               2:19-cv-01535   Va. E.D.
Benjamin Kwame Quarmon v. C.R. Bard, Inc.         2:17-cv-00335   Va. E.D.
Johnie W. Dalton v. C.R. Bard, Inc.               2:19-cv-04268   Va. W.D.
Norman E. Rose v. C.R. Bard, Inc.                 2:19-cv-04083   Wa. W.D.
Kelly Kuester v. C.R. Bard, Inc.                  2:19-cv-02904   Wis. E.D.
Jody Marie Snyder v. C.R. Bard, Inc.              2:17-cv-03272   Wis. W.D.


                                              4
  Case:
   Case3:20-cv-00262-MPM-JMV
        2:15-md-02641-DGC Document
                             Doc #: 521589
                                      Filed: 09/18/20
                                              Filed 09/10/20
                                                      35 of 72Page
                                                               PageID
                                                                   35 #:
                                                                      of 509
                                                                         72

      In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641

                       TRANSFER ORDER (FOURTH)
                Schedule A – Direct-Filed Cases to Be Transferred
                              (September 10, 2020)


                Case Caption                    Case Number      Transferee District
Chasity Adkins v. C.R. Bard, Inc.             2:19-cv-04261      W.V. S.D.
Angela Rhodes v. C.R. Bard, Inc.              2:19-cv-02135      W.V. S.D.




                                        5
   Case:
    Case3:20-cv-00262-MPM-JMV
         2:15-md-02641-DGC Document
                              Doc #: 521589
                                       Filed: 09/18/20
                                               Filed 09/10/20
                                                       36 of 72Page
                                                                PageID
                                                                    36 #:
                                                                       of 510
                                                                          72

In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC


                        TRANSFER ORDER (FOURTH)
                            Exhibit 1 – MDL Orders



                   CASE MANAGEMENT ORDERS (CMOs)

 Date Filed   Doc. No. Docket Text
 10/30/2015     248     CMO 1 re Leadership Counsel Appointments
 11/16/2016    4016     Amended CMO 1 re Leadership Counsel Appointments
 03/21/2017    5285     Second Amended CMO 1 re Plaintiff Leadership Team
 02/04/2019    15098    Third Amended CMO 1 re Plaintiff Leadership Team
 10/30/2015     249     CMO 2 re Setting Deadlines, First Phase of Discovery
 12/01/2015     314     CMO 3 re Non-waiver Order Pursuant to Rule 502(d)
 12/17/2015     363     CMO 4 re Master Complaint, Responsive Pleadings, Short
                        Form Complaint, Waiver, and Answer
 3/17/2016     1108     Amended CMO 4 re Master Complaint, Responsive
                        Pleadings, Short Form Complaint, Waiver, and Answer
 4/20/2016     1485     Second Amended CMO 4 re Master Complaint, Responsive
                        Pleadings, Short Form Complaint, Waiver, and Answer
 12/17/2015     365     CMO 5 re Plaintiff and Defendant Profile Forms
 03/03/2016     927     Amended CMO 5 re Plaintiff and Defendant Profile Forms
 12/18/2015     372     CMO 6 re Rules to Establishing Common Benefit Fee
 01/05/2016     401     CMO 7 re Stipulations Concerning Redactions
 02/02/2016     519     CMO 8 re Second Phase of Discovery
 03/31/2016    1259     CMO 9 re ESI and production protocol
 04/01/2016    1319     CMO 10 re Second Phase Discovery, Bellwether, ESI, FDA,
                        Deposition, and Privilege Log
 05/05/2016    1662     CMO 11 re Bellwether Selection Process
 05/05/2016    1663     CMO 12 re Joint Record Collection
 06/21/2016    2238     CMO 13 re ESI, FDA Warning Letter and Designations
 06/21/2016    2239     CMO 14 re Deposition Protocols

                                        1
   Case:
    Case3:20-cv-00262-MPM-JMV
         2:15-md-02641-DGC Document
                              Doc #: 521589
                                       Filed: 09/18/20
                                               Filed 09/10/20
                                                       37 of 72Page
                                                                PageID
                                                                    37 #:
                                                                       of 511
                                                                          72

In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC



                   CASE MANAGEMENT ORDERS (CMOs)

 Date Filed   Doc. No. Docket Text
 08/25/2016    3214     CMO 15 re Lexecon Waivers, ESI Discovery, Multi-plaintiff
                        Actions, and Deceased Plaintiffs
 08/25/2016    3215     CMO 16 re Deadlines Related to Barraza
 12/02/2016    4141     Amended CMO 16 re Deadlines Related to Barraza
 09/14/2016    3372     CMO 17 re Protective Order and Expedited ESI Production
 11/16/2016    4015     Amended CMO 17 re Protective Order and Redactions of
                        Material from Expedited ESI Production
 10/17/2016    3685     CMO 18 re Adjusted Discovery Schedule
 12/13/2016    4311     CMO 19 re ESI and Bellwether Selection
 12/22/2016    4335     CMO 20 re Discovery Deadlines for Discovery Group 1 and
                        Bellwether Group 1
 02/06/2017    4866     CMO 21 re Discovery Protocols for Discovery Group 1
 02/17/2017    5007     CMO 22 re Setting Deadlines
 05/05/2017    5770     CMO 23 re Expert Deposition Deadlines, Bellwether Case
                        Selection, Preemption Motion for Summary Judgment, and
                        Mature Cases
 05/19/2017    5881     CMO 23 re Discovery Protocols for Bellwether Group 1
 05/19/2017    5883     Amended CMO 24 re Discovery Protocols for Bellwether
                        Group 1
 06/06/2017    6227     CMO 25 re Bellwether Group 1 Amended Discovery
                        Schedule
 07/17/2017    6799     CMO 26 re Depositions of Dr. Henry and Dr. Altonaga,
                        Communications among Plaintiffs’ Experts, and Bellwether
                        Trial Issues
 10/10/2017    8113     CMO 27 re Privilege Issues, Bellwether Trial Schedule,
                        Plaintiffs’ Motion for Partial Summary Judgment, and
                        Recusal Unnecessary
 11/21/2017    8871     CMO 28 re Booker Bellwether Trial Schedule, and Mature
                        Cases



                                        2
   Case:
    Case3:20-cv-00262-MPM-JMV
         2:15-md-02641-DGC Document
                              Doc #: 521589
                                       Filed: 09/18/20
                                               Filed 09/10/20
                                                       38 of 72Page
                                                                PageID
                                                                    38 #:
                                                                       of 512
                                                                          72

In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC



                   CASE MANAGEMENT ORDERS (CMOs)

 Date Filed   Doc. No. Docket Text
 12/21/2017    9415     CMO 29 re Booker Bellwether Trial Schedule, Motion to
                        Certify Appeal, and Cisson Motion Briefing
 01/23/2018    9775     CMO 30 re Motions Hearings, Motions in Limine, and
                        Punitive Damages in Booker
 03/02/2018    10323    CMO 31 re Booker Trial
 05/07/2018    11011    CMO 32 re Jones Trial
 06/01/2018    11320    CMO 33 re Mulkey as Next Bellwether Selection, and
                        Mulkey Trial Schedule
 06/28/2018    11659    CMO 34 re Next 3 Bellwether Trials, Kruse Trial Schedule,
                        Use of Dr. Kandarpa at Trial, Sixth Bellwether Tinlin,
                        Disposition of SNF Cases, and Remand of Mature Cases
 07/13/2018    11871    CMO 35 re September, November and May Bellwether
                        Trials, and Hyde September Bellwether Trial Schedule
 08/02/2018    12061    CMO 36 re Tinlin Bellwether Pre-trial Schedule
 10/04/2018    12830    CMO 37 re Hyde Trial
 10/05/2018    12853    CMO 38 re Future Bellwether Trials, February and May
                        Bellwether Trials, Motion to Seal Trial Exhibits, Settlement
                        Talks and Remand, and SNF Cases
 10/16/2018    12971    CMO 39 re Tinlin Bellwether Case
 11/08/2018    13329    CMO 40 re Mulkey Bellwether Trial
 02/08/2019    15176    CMO 41 re Tinlin Trial, SNF Cases, Remand of Mature
                        Cases, and Possible Settlement Procedures
 03/21/2019    16343    CMO 42 re Tinlin Trial, SNF Cases, Duplicative Cases,
                        Settlement Procedures and Remand or Transfer
 05/02/2019    17494    CMO 43 re Tinlin Trial, Common Benefit Fund Fee and
                        Expense Accounts, Closing Date for New Cases and Remand
                        or Transfer, and SNF Cases
 05/16/2020    17777    CMO 44 re Common Benefit Fund Accounts
 05/31/2020    18079    CMO 45 re MDL closure



                                         3
   Case:
    Case3:20-cv-00262-MPM-JMV
         2:15-md-02641-DGC Document
                              Doc #: 521589
                                       Filed: 09/18/20
                                               Filed 09/10/20
                                                       39 of 72Page
                                                                PageID
                                                                    39 #:
                                                                       of 513
                                                                          72

In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC



                   CASE MANAGEMENT ORDERS (CMOs)

 Date Filed   Doc. No. Docket Text
 03/27/2020    21480    CMO 46 re Common Benefit Fee and Cost Committee
                        (Sealed Ex Parte Order)
 06/29/2020    21528    Amended CMO 46 (Sealed Ex Parte Order)
 07/16/2020    21540    CMO 47 re settlement status of cases and cases dismissed
                        without prejudice



                             DISCOVERY ORDERS

 Date Filed   Doc. No. Docket Text
 10/30/2015     249     CMO 2 re Setting Deadlines, First Phase of Discovery
 02/02/2016     519     CMO 8 re Second Phase of Discovery

 03/31/2016    1259     CMO 9 re Electronically Stored Information and production
                        protocol
 04/01/2016    1319     CMO 10 re Second Phase Discovery, Bellwether, ESI, FDA,
                        Deposition, and Privilege Log
 05/05/2016    1663     CMO 12 re Joint Record Collection
 06/21/2016    2238     CMO 13 re ESI, FDA Warning Letter and Designations
 06/21/2016    2239     CMO 14 re Deposition Protocols
 08/25/2016    3214     CMO 15 re Lexecon Waivers, ESI Discovery, Multi-plaintiff
                        Actions, and Deceased Plaintiffs
 08/29/2016    3272     Order re Deposition of Jim Beasley
 09/06/2016    3312     Order re discovery disputes concerning Plaintiffs’
                        communications with FDA
 09/06/2016    3313     Order re Plaintiffs’ communications with NBC or other
                        media outlets and admissibility at trial
 09/06/2016    3314     Order re Plaintiffs’ third party funding arrangements
 09/14/2016    3372     CMO 17 re Protective Order and Expedited ESI Production


                                         4
   Case:
    Case3:20-cv-00262-MPM-JMV
         2:15-md-02641-DGC Document
                              Doc #: 521589
                                       Filed: 09/18/20
                                               Filed 09/10/20
                                                       40 of 72Page
                                                                PageID
                                                                    40 #:
                                                                       of 514
                                                                          72

In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC


                             DISCOVERY ORDERS

 Date Filed   Doc. No. Docket Text
 11/16/2016    4015     Amended CMO 17 re Protective Order and Redactions of
                        Material from Expedited ESI Production
 09/16/2016    3398     Order re ESI generated by foreign entities that sell filters
                        abroad
 10/17/2016    3685     CMO 18 re Adjusted Discovery Schedule
 12/13/2016    4311     CMO 19 re ESI and Bellwether Selection
 12/22/2016    4335     CMO 20 re Discovery Deadlines for Discovery Group 1 and
                        Bellwether Group 1
 12/24/2016    4339     Order re proposed depositions of and interrogatories to
                        Plaintiffs’ counsel
 02/06/2017    4865     Order re discovery dispute on ex parte communications with
                        treating physicians and depositions of treating physicians and
                        sales representatives
 02/06/2017    4866     CMO 21 re Discovery Protocols for Discovery Group 1

 05/05/2017    5770     CMO 23 re Expert Deposition Deadlines, Bellwether Case
                        Selection, Preemption Motion for Summary Judgment, and
                        Mature Cases
 05/19/2017    5881     CMO 23 re Discovery Protocols for Bellwether Group 1

 05/19/2017    5883     Amended CMO 24 re Discovery Protocols for Bellwether
                        Group 1
 06/06/2017    6227     CMO 25 re Bellwether Group 1 Amended Discovery
                        Schedule
 07/17/2017    6799     CMO 26 re Depositions of Dr. Henry and Dr. Altonaga,
                        Communications among Plaintiffs’ Experts, and Bellwether
                        Trial Issues




                                          5
   Case:
    Case3:20-cv-00262-MPM-JMV
         2:15-md-02641-DGC Document
                              Doc #: 521589
                                       Filed: 09/18/20
                                               Filed 09/10/20
                                                       41 of 72Page
                                                                PageID
                                                                    41 #:
                                                                       of 515
                                                                          72

In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC


                   DISCOVERY AND PRIVILEGE ORDERS

 Date Filed   Doc. No. Docket Text
 12/01/2015     314     CMO 3 re Non-waiver Order Pursuant to Rule 502(d)
 02/11/2016     699     Order re Motion for Protective Order concerning Dr. John
                        Lehmann's December 15, 2004, report as protected work
                        product
 07/25/2016    2813     Order re Plaintiffs’ Motion to Compel (Privilege Log Issues)
 02/06/2017    4865     Order re discovery dispute on ex parte communications with
                        treating physicians and depositions of treating physicians and
                        sales representatives
 07/17/2017    6799     CMO 26 re Depositions of Dr. Henry and Dr. Altonaga,
                        Communications among Plaintiffs’ Experts, and Bellwether
                        Trial Issues
 10/10/2017    8113     CMO 27 re Privilege Issues, Bellwether Trial Schedule,
                        Plaintiffs’ Motion for Partial Summary Judgment, and
                        Recusal Unnecessary
 10/20/2017    8315     Order that Plaintiffs need not produce the withheld expert
                        communications or provide a privilege log on these
                        communications to Defendants.



                              DAUBERT ORDERS

 Date Filed   Doc. No. Docket Text
 12/21/2017    9428     Order re Motion to Disqualify Plaintiffs' Expert Thomas
                        Kinney, M.D.
 12/21/2017    9432     Order re Motion to Disqualify Plaintiffs' Experts Drs.
                        Resnick, Vogelzang, and Desai
 12/22/2017    9433     Order re Motion to Exclude Plaintiffs' Experts Drs. Parisian
                        and Kessler
 12/22/2017    9434     Order re Motion to Exclude Plaintiffs' Experts Drs. Kinney,
                        Roberts, and Kalva
 01/22/2018    9770     Order re Motion to Exclude Plaintiffs' Expert Dr. Eisenberg
 01/22/2018    9771     Order re Motion to Exclude Plaintiffs' Expert Dr. Muehrcke

                                         6
   Case:
    Case3:20-cv-00262-MPM-JMV
         2:15-md-02641-DGC Document
                              Doc #: 521589
                                       Filed: 09/18/20
                                               Filed 09/10/20
                                                       42 of 72Page
                                                                PageID
                                                                    42 #:
                                                                       of 516
                                                                          72

In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC


                              DAUBERT ORDERS

 Date Filed   Doc. No. Docket Text
 01/22/2018    9772     Order re Motion to Exclude Plaintiffs' Expert Dr. Hurst
 01/22/2018    9773     Order re Motion to Exclude Plaintiffs' Expert Dr. Betensky
 02/06/2018    9991     Order re Motion to Exclude Bard's Expert Dr. Grassi
 02/08/2018    10051    Order re Motion to Exclude Plaintiffs' Expert Dr.
                        McMeeking
 02/08/2018    10052    Order re Motion to Exclude Plaintiffs' Expert Dr. Ritchie
 02/12/2018    10072    Order re Motion to Exclude Plaintiffs' Experts Drs. Garcia
                        and Streiff
 02/21/2018    10230    Order re Motion to Exclude Bard's Experts Drs. Grassi and
                        Morris
 02/21/2018    10231    Order re Motion to Exclude Bard's Expert Dr. Morris
 04/16/2019    16992    Order re Motion to Exclude Plaintiffs’ Expert Dr.
                        McMeeking
 04/23/2019    17285    Order re Motion to Exclude Bard’s Expert Dr. Morris



                       MOTIONS IN LIMINE ORDERS

 Date Filed   Doc. No. Docket Text
 01/23/2018    9775     CMO 30 re Motions Hearings, Motions in Limine, and
                        Punitive Damages in Booker
 01/26/2018    9861     Joint Stipulation re prohibiting raising certain issues in the
                        presence of the jury for Booker Bellwether case
 01/29/2018    9881     Order re admissibility of (1) pre-market clearance of Bard
                        IVC filters by FDA and (2) the lack of FDA Enforcement
                        Action against Bard
 02/15/2018    10075    Order re Motions in Limine re Photographs of Mike Randall,
                        Dr. Kinney work for Bard, Benevolent Activities, Evidence
                        Not Produced in Complaint Files, Prior Judicial Opinions,
                        Adverse Impact of a Plaintiff's Verdict, Informed Consent



                                          7
   Case:
    Case3:20-cv-00262-MPM-JMV
         2:15-md-02641-DGC Document
                              Doc #: 521589
                                       Filed: 09/18/20
                                               Filed 09/10/20
                                                       43 of 72Page
                                                                PageID
                                                                    43 #:
                                                                       of 517
                                                                          72

In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC


                       MOTIONS IN LIMINE ORDERS

 Date Filed   Doc. No. Docket Text
                        Form, Dr. Kang Social Media Posts, Personal Traits of
                        Employees and Witnesses for Booker Bellwether case
 02/22/2018    10235    Order re Parties' Joint Stipulation re prohibiting raising
                        certain issues in the presence of the jury for Booker
                        Bellwether case
 03/01/2018    10258    Order re Motions in Limine re Recovery® Filter
                        Complications, Recovery® Filter Development, FDA
                        Warning Letter, IVC Filter as Lifesaving Devices, IVC filters
                        are Gold Standard, Nonparties at Fault, Statements from
                        Associations and Other Groups, FDA Consent for Warnings
                        or Recalls for Booker Bellwether case
 03/09/2018    10382    Order re Plaintiff's use of the depositions of Drs. Moritz,
                        Rogers, and Stein at trial
 03/19/2018    10489    Order re Simon Nitinol Filter complication evidence
 04/18/2018    10819    Order re reconsideration motions relating to Recovery®
                        Filter Evidence and cephalad Migration Deaths for Jones
                        Bellwether case
 04/27/2018    10920    Order re Plaintiff’s motion for reconsideration of Court Order
                        excluding evidence of Recovery® Filter Cephalad Migration
                        Deaths for Jones Bellwether case
 05/03/2018    10947    Order re Motions in Limine re (1) Case Specific Medical
                        Issues (2) Relatives receipt of IVC Filters, (3) Experts
                        Retained In Other Litigation, (4) Attorney Advertising, (5)
                        Other Lawsuits for Jones Bellwether case
 05/08/2018    11041    Order re cephalad migration deaths for Jones Bellwether case
 05/15/2018    11082    Order re reconsideration of Recovery migration deaths
 05/29/2018    11256    Order re cephalad migration, Recovery filter and deaths and
                        FDA evidence for Jones Bellwether case
 09/04/2018    12507    Order re SIR Guidelines and IFU for Hyde Bellwether case

 09/07/2018    12533    Order re cephalad migration deaths, SNF as reasonable
                        alternative design, personal opinions of Dr. Muehrcke,
                        informed consent, FDA evidence, Surgeon General’s Call to
                        Action, and falling accidents for Hyde Bellwether case
                                          8
   Case:
    Case3:20-cv-00262-MPM-JMV
         2:15-md-02641-DGC Document
                              Doc #: 521589
                                       Filed: 09/18/20
                                               Filed 09/10/20
                                                       44 of 72Page
                                                                PageID
                                                                    44 #:
                                                                       of 518
                                                                          72

In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC


                         MOTIONS IN LIMINE ORDERS

 Date Filed   Doc. No. Docket Text
 04/23/2019    17285     Order re medical care as an intervening cause of injury for
                         Tinlin Bellwether case
 04/26/2019    17401     Order re Ms. Tinlin’s IVC Size, unrelated medical
                         conditions, rates of filter complications, retrievable filter
                         sales versus SNF sales, social security benefits, cephalad
                         migration deaths, FDA warning letter, crisis communications
                         plan, and patient at Dr. Muehrcke’s hospital for Tinlin
                         Bellwether case



                    DEPOSITION DESIGNATION ORDERS

 Date Filed   Doc. No.   Docket Text
 03/07/2018    10348     Order re deposition designations for Booker Bellwether case
 03/12/2018    10403     Order re deposition designations for Booker Bellwether case
 03/14/2018    10438     Order re deposition designations for Booker Bellwether case
 03/19/2018    10486     Order re deposition designations for Booker Bellwether case
 03/21/2018    10497     Order re deposition designations for Booker Bellwether case
 03/26/2018    10524     Order re deposition designations for Booker Bellwether case
 05/01/2018    10922     Order re deposition designations for Jones Bellwether case
 05/10/2018    11064     Order re deposition designations for Jones Bellwether case
 05/11/2018    11073     Order re deposition designations for Jones Bellwether case
 05/14/2018    11080     Order re deposition designations for Jones Bellwether case
 05/31/2018    11313     Order re deposition designations for Jones Bellwether case
 08/27/2018    12357     Order re deposition designations for Hyde Bellwether case
 09/04/2018    12508     Order re deposition designations for Hyde Bellwether case
 09/12/2018    12590     Order re deposition designations for Hyde Bellwether case
 09/13/2018    12595     Order re deposition designations for Hyde Bellwether case
 09/17/2018    12598     Order re deposition designations for Hyde Bellwether case


                                          9
   Case:
    Case3:20-cv-00262-MPM-JMV
         2:15-md-02641-DGC Document
                              Doc #: 521589
                                       Filed: 09/18/20
                                               Filed 09/10/20
                                                       45 of 72Page
                                                                PageID
                                                                    45 #:
                                                                       of 519
                                                                          72

In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC


                      DEPOSITION DESIGNATION ORDERS

 Date Filed   Doc. No.   Docket Text
 04/26/2019    17386     Order re deposition designations for Tinlin Bellwether case
 05/03/2019    17513     Order re deposition designations for Tinlin Bellwether case
 05/07/2019    17582     Order re deposition designations for Tinlin Bellwether case



                          MISCELLANEOUS ORDERS

 Date Filed   Doc. No. Docket Text
 11/10/2015     269      Amended Stipulated Protective Order re Confidentiality
 11/22/2017    8872      Order re Bard’s Motion for Summary Judgment on
                         Preemption Grounds
 11/22/2017    8874      Order re Bard’s Motion for Summary Judgment for Booker
                         Bellwether case
 03/12/2018    10404     Order re Bard’s Motion for Summary Judgment for Jones
                         Bellwether case
 03/30/2018    10587     Order re final trial preparation and setting Final Pretrial
                         Conference for Jones Bellwether case.
 06/01/2018    11321     Order re final trial preparation and setting Final Pretrial
                         Conference for Mulkey Bellwether case.
 06/28/2018    11659     Order re final trial preparation and setting Final Pretrial
                         Conference for Kruse Bellwether case.
 07/13/2018    11871     Order re final trial preparation and setting Final Pretrial
                         Conference for Hyde Bellwether case.
 07/26/2018    12007     Order re Bard’s Motion for Summary Judgment for Hyde
                         Bellwether case
 08/02/2018    12061     Order re final trial preparation for Tinlin Bellwether case.
 08/17/2018    12202     Order re Bard’s Motion for Summary Judgment for Kruse
                         Bellwether case
 09/12/2018    12589     Order re Preemption of Negligence Per Se for Hyde
                         Bellwether case


                                          10
   Case:
    Case3:20-cv-00262-MPM-JMV
         2:15-md-02641-DGC Document
                              Doc #: 521589
                                       Filed: 09/18/20
                                               Filed 09/10/20
                                                       46 of 72Page
                                                                PageID
                                                                    46 #:
                                                                       of 520
                                                                          72

In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC


                         MISCELLANEOUS ORDERS

 Date Filed   Doc. No. Docket Text
 09/13/2018    12593    Order re reconsideration of Order denying Wisconsin
                        Government Rules Rebuttable Presumption of Non-Defect
                        for Hyde Bellwether case
 10/05/2018    12853    Order re amended schedule for final trial preparation and
                        setting Final Pretrial Conference for Mulkey and Tinlin
                        Bellwether cases.
 10/16/2018    12971    Order re amended schedule for final trial preparation and
                        setting Final Pretrial Conference for Tinlin Bellwether case.
 04/16/2019    17008    Order re Bard’s Motion for Summary Judgment for Tinlin
                        Bellwether case
 05/31/2019    18038    Order re Plaintiffs Steering Committee’s Motion to Modify
                        CMO 6 to Increase the Common Benefit Assessments
 03/04/2020    21461    Order Addressing Cases with Service of Process and Plaintiff
                        Profile Form Issues, Cases for Which No Federal Jurisdiction
                        Exists, and Duplicate Cases
 07/08/2020    21527    Order re vacating dismissals of cases dismissed without
                        prejudice


                  MASTER AND SHORT-FORM PLEADINGS

 Date Filed   Doc. No. Docket Text
 10/30/2015     249     CMO 2 re Setting Deadlines, First Phase of Discovery
 12/17/2015     363     CMO 4 re Master Complaint, Responsive Pleadings, Short
                        Form Complaint, Waiver, and Answer
 3/17/2016     1108     Amended CMO 4 re Master Complaint, Responsive
                        Pleadings, Short Form Complaint, Waiver, and Answer
 4/20/2016     1485     Second Amended CMO 4 re Master Complaint, Responsive
                        Pleadings, Short Form Complaint, Waiver, and Answer
 12/17/2015     364     Master Complaint for Damages for Individual Claims
 11/30/2015     302     Master Short Form Complaint for Damages for Individual
                        Claims


                                         11
   Case:
    Case3:20-cv-00262-MPM-JMV
         2:15-md-02641-DGC Document
                              Doc #: 521589
                                       Filed: 09/18/20
                                               Filed 09/10/20
                                                       47 of 72Page
                                                                PageID
                                                                    47 #:
                                                                       of 521
                                                                          72

In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC


                  MASTER AND SHORT-FORM PLEADINGS

 Date Filed   Doc. No. Docket Text
 12/17/2015     366     Defendants’ Answer to Plaintiffs’ Master Complaint
 12/17/2015     365     CMO 5 re Plaintiff and Defendant Profile Forms
 03/03/2016     927     Amended CMO 5 re Plaintiff and Defendant Profile Forms
 03/18/2016   1153-1    Plaintiff Fact Sheet
 03/18/2016   1153-2    Defendant Fact Sheet




                                         12
                      Case:
                       Case3:20-cv-00262-MPM-JMV
                            2:15-md-02641-DGC Document
                                                 Doc #: 521589
                                                          Filed: 09/18/20
                                                                  Filed 09/10/20
                                                                          48 of 72Page
                                                                                   PageID
                                                                                       48 #:
                                                                                          of 522
                                                                                             72

                      In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC

                                              TRANSFER ORDER (FOURTH)
       Exhibit 2 – Admitted Exhibit List from Bellwether Trials and Documents No Longer Subject to Protective Order

 Trial
              Notes                                                         Description
Ex. No.
  79                      2/19/2004 Characterization of RNF - Migration resistance; TPR-04-02-02 REV 0 Test protocol for migration
                          resistance Characterization of RNF - Migration resistance
 354                      9/19/2006 PPT re G2; Caudal Movement causes tilting which leads to perforation PPT last modified 3/16/2009
                          (custodian Mike Randall)
 443                      11/30/2008 G2 and G2X Fracture Analysis Reporting date range 7/1/2005 thru 11/30/2008
 447                      4/1/2009 Filter - Fracture Analysis (June 2010)
 495                      3/26/2015 Recovery Filter System; Recovery Filter Overview
 504                      Eclipse Concept POA
 545                      Altonaga Deposition, 10/22/2013, Exhibit 03 - 2/26-2/27/2004 E-mail exchange b/w Hudnall and David Rauch of
                          BPV Re. "Case for Caval Centering"
 546                      Altonaga Deposition, 10/22/2013, Exhibit 04, Lehmann Deposition 4/2/13, Ex. 14 and Ferarra, Ex. 7, Barry
                          Deposition, 01/31/2014, Exhibit 18 - 4/13-4/15/2004 E-mail exchange b/w Lee Lynch, Lehmann, and others Re.
                          "Crisis Plan and Supporting Documents for Your Review"
 552                      Asch 202, 5/18/1999 Letter from Thomas Kinst, Product Manager of Filters at NMT Medical, to Monica Coutanche,
                          Marketing Manager at Bard Canada, Inc.
 553                      Asch Deposition, 05/02/2016 - Exhibit 203 - 9/14/2002 Memo from Thomas Kinst to Recovery Filter Design History
                          File Re. Recovery Filter Compassionate Use, Subject: "Conference call with Bard Peripheral Technologies regarding
                          clinical assessment of Recovery Filter removal #5"
 556                      Asch Deposition, 05/02/2016 - Exhibit 207 - 1/26/2001 Letter from Mount Sinai Hospital to Dr. Asch Re.
                          "Assessment of a New Temporary/Removable IVC Filter" - and - 11/8/2001 Letter from Mount Sinai Research Ethics
                          Board Re. "MSH Reference #01-0161-U
 557                      Asch Ex. 208, BPV-17-01-00056765 -766, /28/2000 E-mail from Paul Stagg to Cavagnaro, Mellen, Uelmen,
                          Vierling, and Field Re. "Fwd [2]: compassionate IVC filters" (from Asch)
 559                      Asch Exh. 210, BPV-17-01-00052621, 4/17/2002- Email from George Cavagnaro to Doug Uelmen and Carol
                          Vierling, dated April 18, 2002


                                                                    1
                      Case:
                       Case3:20-cv-00262-MPM-JMV
                            2:15-md-02641-DGC Document
                                                 Doc #: 521589
                                                          Filed: 09/18/20
                                                                  Filed 09/10/20
                                                                          49 of 72Page
                                                                                   PageID
                                                                                       49 #:
                                                                                          of 523
                                                                                             72

                      In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC

                                              TRANSFER ORDER (FOURTH)
       Exhibit 2 – Admitted Exhibit List from Bellwether Trials and Documents No Longer Subject to Protective Order

 Trial
              Notes                                                           Description
Ex. No.
 561                      Asch Deposition, 05/02/2016 - Exhibit 212 - Special 510(k) Submission for the Recovery Filter System, K022236,
                          dated 11/27/2002
 563                      Asch Deposition, 05/02/2016 - Exhibit 218 - Information for Use - Recovery Filter System, Dated 2004
 567                      Asch Deposition, 05/02/2016 - Exhibit 223 - 3/10/2003 Letter from Dr. Asch Re support for RF
 571                      Baird Deposition, 06/09/2016 - Exhibit 301 - PowerPoint Presentation entitled BPV Filter Franchise Review dated
                          5/6/2008 (colored and 43 pages)
 587                      Baird Deposition, 06/09/2016 - Exhibit 318 - Aug. 2010 Article by Nicholson et al. entitled "Online First: Prevalence
                          of Fracture and Fragment Embolization of Bard Retrievable Vena Cava Filters and Clinical Implications Including
                          Cardiac Perforation and Tamponade"
 588                      Baird Deposition, 06/09/2016 - Exhibit 319 - 11/12/2009 E-mail from Bret Baird to Bill Little, John Van Vleet, and
                          Gin Schulz, with others CC’ed, Re. "Bard Filter Fractures presentation online"
 589                      Baird Deposition, 06/09/2016 - Exhibit 320 - ABA Project Agreement with BPV, Inc., dated 11/9/2010
 590                      Baird Deposition, 06/09/2016 - Exhibit 321 - 11/29-12/1/2010 E-mail exchange b/w Bret Baird and Jimmy Balwit Re.
                          "White Paper, Proof 2"
 591                      Baird Deposition, 06/09/2016 - Exhibit 322 - Bard Idea POA on the Denali Filter, Project No. 8108 Rev. 0.0, revised
                          August 2009 by Bret Baird
 592                      Baird Deposition, 06/09/2016 - Exhibit 325 - 4/28/2010 E-mail from Bret Baird to the Sales Team
 614                      Betensky 02/2017 Expert Report - Adverse event reports and monthly sales totals through May 2011
 631                      Betensky Expert Report - DFMEA070044, Rev. 3: G2 Express - Design Failure Mode and Effects Analysis
 635                      Betensky Expert Report - DFMEA070077, Rev. 1: Eclipse (Vail) Filter System - Design Failure Mode and Effects
                          Analysis
 677                      SOF Filter Fracture Analysis, August 2010, Reporting range 7/1/05 - 8/31/10, G2, G2X, and Eclipse
 691                      Boyle, 02/02/2017, Exhibit 842 - E-mail chain first one from John Van Vleet to Steve Williamson, dated 11/5/2015, 6
                          pages


                                                                    2
                      Case:
                       Case3:20-cv-00262-MPM-JMV
                            2:15-md-02641-DGC Document
                                                 Doc #: 521589
                                                          Filed: 09/18/20
                                                                  Filed 09/10/20
                                                                          50 of 72Page
                                                                                   PageID
                                                                                       50 #:
                                                                                          of 524
                                                                                             72

                      In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC

                                              TRANSFER ORDER (FOURTH)
       Exhibit 2 – Admitted Exhibit List from Bellwether Trials and Documents No Longer Subject to Protective Order

 Trial
              Notes                                                           Description
Ex. No.
 696                      Brauer Deposition, 05/23/2014 - Exhibit 16 - Testimony of Marcia Crosse, Director of Health Care, before the
                          Subcommittee on Health, Committee on Energy and Commerce, House of Representatives Re. "Medical Devices
                          ¬Shortcomings in FDA's Premarket Review, Postmarket Surveillance, and Inspections of Device Manufacturing
                          Establishments", dated 6/18/2009
 709                      Brauer, 08/02/2017, Exhibit 1046 - Bard Simon Nitinol Filter, Postmarket Surveillance Study Amendment, August
                          10, 2014
 730                      Carr Deposition, 04/17/2013 - Exhibit 01 - Class of Plaintiffs' Notice of Taking Rule 30(b)(6) Deposition Duces
                          Tecum in Case No. 12-80951- CIV-ROSENBAUM
 735                      Carr Deposition, 04/17/2013 - Exhibit 07 - Bard Idea POA - Eclipse Anchor Filter, caudal migration, Rev 0, 4/1/2010
                          E-mail exchange b/w Tracy Estrada and Ed Fitzpatrick
 737                      Carr Deposition, 04/17/2013 - Exhibit 09 - 8/22-8/25/2008 E-mail exchange b/w Bret Bard, Mike Randall, and
                          Natalie Wong Re. "[Redacted] Conference call - complaint on fracture"
 755                      Carr Deposition, 10/29/2014 - Exhibit 3A - E-mail exchange b/w Hudnall and others from 3/9-10/4/2005 Re. "Special
                          Accounts Roadshow"
 764      REDACTED        Carr Deposition, 11/05/2013 - Exhibit 14 - 5/27/2004 E-mail b/w Greer, Carr, Hudnall, and Sullivan re. "Bariatric
                          patients and filters", "Stay out of the buffet line", BPVE-01-00010858 -859
 769                      Carr Deposition, 12/19/2013 - Exhibit 05 - BPV Meridian Claims Matrix, dated 7/2/2010
 770                      Carr Deposition, 12/19/2013 - Exhibit 06 - Bard's Denali Concept Product Opportunity Appraisal, POA-8108, Rev.
                          1.0
 800                      Carr Deposition, 12/19/2014 - Exhibit 18 - NMT RNF PDT Meeting Notes re Product Development Team,
                          01/13/1998
 802                      Carr Deposition, 12/19/2014 - Exhibit 20 - NMT R&D Technical Report, RD-RPT-128, 09/01/2000, Investigation
                          Report of a Migrated Recovery Filter in the Human Use Experience at Mt. Sinai Hospital
 854      REDACTED        Carr Deposition, November 5, 2013 - Exhibit 15 - 12/12/2004 E-mail from Uelmen to Kellee Jones, attaching
                          12/9/2004 Remedial Action Plan (Revised) SPA-04-12-01


                                                                    3
                      Case:
                       Case3:20-cv-00262-MPM-JMV
                            2:15-md-02641-DGC Document
                                                 Doc #: 521589
                                                          Filed: 09/18/20
                                                                  Filed 09/10/20
                                                                          51 of 72Page
                                                                                   PageID
                                                                                       51 #:
                                                                                          of 525
                                                                                             72

                      In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC

                                              TRANSFER ORDER (FOURTH)
       Exhibit 2 – Admitted Exhibit List from Bellwether Trials and Documents No Longer Subject to Protective Order

 Trial
              Notes                                                           Description
Ex. No.
 876                      Chanduszko Deposition, 04/23/2015 - Exhibit 17 - Pages 30-44 of Notebook No. 7013, Project: Recovery Filter Arm
                          Fatigue Testing
 905                      Ferrara Exh. 19, BPVE-01-00245186 -188, Email chain re G2 Caudal Migrations 12/27/2005
 922                      Ciavarella Deposition, 11/12/2013 - Exhibit 22 - Chart of Sales and Adverse Events for all competitors from Q3/00
                          through Q2/03, according to the MAUDE database.
 923                      Ciavarella Deposition, 11/12/2013 - Exhibit 24 - Summary of Sales and Adverse Events for all competitors from
                          01/00 through Q1/04
 924                      Ciavarella Deposition, 11/12/2013 - Exhibit 26 - Chart of Sales and Adverse Events for all competitors from 01/00
                          through Q1 2006, according to the MAUDE database.
 925                      Ciavarella Deposition, 11/12/2013 - Exhibit 28 - PowerPoint presentation entitled "Filters Complaint History Data as
                          of 7/31/2007" by Natalie Wong.
 926      REDACTED        Ciavarella Deposition, 11/12/2013 - Exhibit 31 - 8/3/2005 Memo from C. Ganser to T. Ring/J. Weiland Re. IVC
                          Recovery Filter Adverse Events (Migrations/Fractures)
 927                      Ciavarella Deposition, 11/12/2013 - Exhibit 35 - Health Hazard Evaluation Memo from Ciavarella to Uelmen Re.
                          "Recovery Filter - Consultant's report", dated 12/17/2004
 931                      Ciavarella Deposition, 11/12/2013 - Exhibit 39 - Draft of Updated Health Hazard Evaluation Memo from Ciavarella
                          to Uelmen, re: "Limb Fractures of Recovery Filter", dated 7/9/2004.
 932                      SWOT Analysis; 5/6/2008 PowerPoint presentation entitled "Filter Franchise Review" BPVE-01-00622862 - 900
 945                      Cohen Exh. 736, BPVE-01-00074004 - 006, IVC Filters - Covered Stents, Monthly Report April, 2004
 965                      Cohen Exh. 757, BPVEFILTER-01-00148562, E-mail dated 12/15/04, with attached FDA Filter Information, FDA
                          called Temple to speak with Cohen
 991                      Cortelezzi, 11/11/2016, Exhibit 586 - 12/23/2005 E-mail from David Ciavarella Re. "G2 Caudal Migrations",
                          forwarded to Brian Barry on 12/27. Worst case consequence of migrations - accompanied in a majority of tilt cases.
                          Would like to now look at G2 complaints.



                                                                    4
                      Case:
                       Case3:20-cv-00262-MPM-JMV
                            2:15-md-02641-DGC Document
                                                 Doc #: 521589
                                                          Filed: 09/18/20
                                                                  Filed 09/10/20
                                                                          52 of 72Page
                                                                                   PageID
                                                                                       52 #:
                                                                                          of 526
                                                                                             72

                      In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC

                                              TRANSFER ORDER (FOURTH)
       Exhibit 2 – Admitted Exhibit List from Bellwether Trials and Documents No Longer Subject to Protective Order

 Trial
              Notes                                                            Description
Ex. No.
 992                      Cortelezzi, 11/11/2016, Exhibit 588 - 7/16/2005 E-mail from Jason Greer to many Re. "Westy's situation…everyone's
                          situation", detailing Bard's need to respond to Cordis' bringing forward the Maude database to physicians and
                          "causing a problem"
 994                      D'Ayala Exh. 4, G2 Filter System for Permanent Placement, IFU, G2 Filter System, 10/2006, Rev. 5, PK5100030,
                          BPV-17-01-00137425 - 432 (also used with Muehrcke)
 1001                     D'Ayala Exh. 13, Evidence-Based Evaluation of Inferior Vena Cava Filter Complications Based on Filter Type
 1006                     DeCant Deposition, 05/24/2016 - Exhibit 254 - 12/9/2003 Meeting Minutes Memo from Brian Hudson to Len
                          DeCant, Mike Casanova, Robert Carr, and Alex Tessmer Re. "Special Design Review for Recovery (Project #'s 7081
                          and 8008)"
 1009     REDACTED        DeCant Deposition, 05/24/2016 - Exhibit 258 - 4/6/2004 Memo from Peter Palermo to Doug Uelmen Re. "Remedial
                          Action Plan - BPV Recovery Nitinol Vena Cava Filter", including the Remedial Action Plan SPA 04-03-01 on the
                          Recovery Filter, dated 3/26/2004
 1014     REDACTED        DeCant Deposition, 05/24/2016 - Exhibit 264 - 6/11/2004 Memo from Pete Palermo to Doug Uelmen Re. "Remedial
                          Action Plan - BPV Recovery Filter - Migration"
 1018     REDACTED        DeCant Deposition, 05/24/2016 - Exhibit 268 - 9/27/2004 Memo from Pete Palermo to Doug Uelmen Re. "Remedial
                          Action Plan - BPV Recovery Filter - Migration (SPA-04-05-01)"
 1022     REDACTED        DeCant Deposition, 05/24/2016 - Exhibit 274 - Failure Investigation Report on the Recovery Filter Migration, FIR-
                          04-12-01 Rev. 00
 1023                     DeCant Deposition, 05/24/2016 - Exhibit 275 - Internal Presentation on the G2 Filter System for Permanent Use,
                          detailing the design modifications, features/benefits, and comparison to the Recovery Filter
 1031     REDACTED        Deford Deposition, 06/02/2016 - Exhibit 283 - BPV File on The Recovery Filter Migration, including Minutes from
                          the 2/12/2004 Migration Meeting
 1036                     Deford Deposition, 06/02/2016 - Exhibit 296 - 9/26-9/27/2007 High Importance E-mail exchange b/w Dennis
                          Salzmann, John Van Vleet, and John Reviere of BPV, with others CC’ed, Re. "Comments on Rev H". Discussion
                          about concern for over-reporting of the SIR guidelines re- classification and removal of the retroperitoneal bleed, and
                          replacing consultant John Lehmann


                                                                     5
                    Case:
                     Case3:20-cv-00262-MPM-JMV
                          2:15-md-02641-DGC Document
                                               Doc #: 521589
                                                        Filed: 09/18/20
                                                                Filed 09/10/20
                                                                        53 of 72Page
                                                                                 PageID
                                                                                     53 #:
                                                                                        of 527
                                                                                           72

                     In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC

                                            TRANSFER ORDER (FOURTH)
     Exhibit 2 – Admitted Exhibit List from Bellwether Trials and Documents No Longer Subject to Protective Order

 Trial
            Notes                                                            Description
Ex. No.
 1053                   Edwards Deposition, 01/20/2014 - Exhibit 02 - 3/28/2003 Document RE. "Product Opportunity Appraisal for
                        Recovery Filter", FM070018, Doc No. POA-7081, Version 000
 1062                   BPV PowerPoint presentation entitled "BPV/AngioMed New Product Development Review Meeting - April 26,
                        2004"
 1130                   Ferrara Exh. 3, Email Chain from Regina Busenbark to Robert Ferrara 1-12-2006
 1133                   Ferrera Deposition, 04/07/2017, Exhibit 11 - Recovery Filter Arm Fracture, Remedial Action Plan September 2, 2004
 1140     REDACTED      Ferrera Deposition, 04/07/2017, Exhibit 25 - Presentation titled Filter-Fracture Analysis
 1149                   Fuller Deposition, 01/11/2016 - Exhibit 123 - NMT Report Entitled "Line Extension to the Simon Nitinol
                        Filter®/Straight Line System, To Be Referred As: TRADEMARK Retrievable Filter"
 1211                   Ganser Deposition, 10/11/2016 - Exhibit 516 - 21 U.S.C.A. § 351, Adultered Drugs and Devices, Effective 7/9/2012
 1214     REDACTED      Ganser Deposition, 10/11/2016 - Exhibit 523 - Several memos: (1) 12/8/2004 BPV Memo from John McDermott to
                        Tim Ring and John Weiland Re. "Monthly Global PV Report - November 2004"; (2) 12/8/2005 BPV Memo from
                        John McDermott to Tim Ring and John Weiland Re. "Monthly Global PV Report - November 2005; (3) 2/10/2006
                        BPV Memo from John McDermott to Tim Ring and John Weiland Re. "Monthly Global PV Report - January 2006;
                        and (4) 2/8/2007 BPV Memo from John McDermott to Tim Ring and John Weiland Re. "Monthly Global PV Report
                        - January 2007
 1216                   Ganser Deposition, 10/11/2016 - Exhibit 526 - Regulatory Affairs Manual Re. "Product Remedial Actions", RA-
                        STD-002 Rev. 08, dated 10/12/2000
 1219     REDACTED      Ganser Deposition, 10/11/2016 - Exhibit 529 - 6/30/2004 Updated Health Hazard Evaluation from David Ciavarella,
                        M.D. to Doug Uelmen Re. "Migration of Recovery Filter"
 1220     REDACTED      Ganser Deposition, 10/11/2016 - Exhibit 530 - 8/25/2004 E-mail from Avijit Mukherjee to Robert Carr, Janet Hudnall
                        CC’ed, Re. "Recovery Filter objective statement", proposing one objective statement for the Recovery Filter G1A
                        project, which Hudnall thought sounded "great"
 1221     REDACTED      Ganser Deposition, 10/11/2016 - Exhibit 533 - 2/15/2006 Health Hazard Evaluation from David Ciavarella to Gin
                        Schulz Re. "G2 Inferior Vena Cava Filter - Migration"


                                                                   6
                    Case:
                     Case3:20-cv-00262-MPM-JMV
                          2:15-md-02641-DGC Document
                                               Doc #: 521589
                                                        Filed: 09/18/20
                                                                Filed 09/10/20
                                                                        54 of 72Page
                                                                                 PageID
                                                                                     54 #:
                                                                                        of 528
                                                                                           72

                     In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC

                                            TRANSFER ORDER (FOURTH)
     Exhibit 2 – Admitted Exhibit List from Bellwether Trials and Documents No Longer Subject to Protective Order

 Trial
            Notes                                                          Description
Ex. No.
 1222     REDACTED      Ganser Deposition, 10/11/2016 - Exhibit 534 - PowerPoint Presentation for a meeting to analyze EVEREST and
                        MAUDE data and provide justifications for proposed changes to G2 filter
 1295                   Graves Deposition, 02/27/2014 - Exhibit 10 - 3/23/2006 E-mail exchange b/w Mickey Graves and Charlie Simpson,
                        FEA on G2, regarding Historical FEA analysis
 1335                   Hudnall Deposition, 11/01/2013, Exhibit 21 - Brochure - Recovery Cone Removal System
 1336                   Hudnall Deposition, 11/01/2013, Exhibit 22 - Recovery G2 Filter System brochure
 1337                   Hudnall Deposition, 11/01/2013, Exhibit 23 - G2 Brochure (permanent) - Patient Questions & Answers and Bard's
                        website page about G2 Filter System, Indicated for removal, 6/10/2010
 1339     REDACTED      Hudnall Deposition, 11/01/2013, Exhibit 29 - 7/6/2004 E-mail exchange b/w Hudnall and Bob Cortelezzi Re. "Maude
                        Website Discussion"
 1369                   Hudson Deposition, 01/17/2014 - Exhibit 16 - 3/24/2004 E-mail from Alex Tessmer to Charlie Benware and Ed
                        Fitzpatrick Re. "Starguide Filter Migration Test Results"
 1370                   Hudson Deposition, 01/17/2014 - Exhibit 18 - 12/11/2003 E-mail exchange b/w Brian Hudson and Janet Hudnall,
                        others CC’ed, Re. "Special Design Review for Recovery - Meeting Minutes".
 1383                   Hudson Deposition, 01/17/2014, Exhibit 13 - BPV Engineering Test Report - Characterization of Recovery Filter
                        Migration Resistance in Comparison to Competitive Product - Phase 1, ETR-04-03-02, Rev 0.
 1500                   Kessler Report - August 7, 2010, John Van Vleet emailed BPV President Jim Beasley, Marketing Director Bill Little,
                        and V.P. of QA Gin Schulz
 1517                   EVEREST Track wise and MAUDE PowerPoint, BPV-17-01-00188507
 1568                   Kessler Report - September 30, 2010 memo from Brett Baird to Eclipse DRT, with the subject line “Eclipse Post-
                        Market Design Review/Marketing Summary,” stated: “The objective of the Eclipse Filter project was to enhance the
                        G2 X filter surface finish…"
 1578                   ETR-06-28-29, revision 0, project #8049, Caudal Migration Test Method Development and G2 Filter Resistance Test
                        Report, 11/27/06, BPVE-01-00789532



                                                                 7
                    Case:
                     Case3:20-cv-00262-MPM-JMV
                          2:15-md-02641-DGC Document
                                               Doc #: 521589
                                                        Filed: 09/18/20
                                                                Filed 09/10/20
                                                                        55 of 72Page
                                                                                 PageID
                                                                                     55 #:
                                                                                        of 529
                                                                                           72

                     In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC

                                            TRANSFER ORDER (FOURTH)
     Exhibit 2 – Admitted Exhibit List from Bellwether Trials and Documents No Longer Subject to Protective Order

 Trial
            Notes                                                          Description
Ex. No.
 1580     REDACTED      Kessler Report -July 12, 2004 email from Bard’s VP of Regulatory Sciences Chris Ganser, to Tim Ring and John
                        Weiland, attached “an executive summary of Recovery Filter adverse events (migration and fracture”
 1594     REDACTED      Lehmann Deposition, 04/02/2013 - Exhibit 08 - 2/16/2005 E-mail from Charlie Simpson to Hudnall Re. "American
                        Venous Forum - Mary Protocor presented an evaluation of filter related findings from the Maude database"
 1612                   Lehmann Deposition, 08/07/2014, Exhibit 08 - Updated Health Hazard Evaluation Memo from Ciavarella to Uelmen,
                        re: "Limb Fractures of Recovery Filter", dated 7/9/2004
 1613                   Lehmann Deposition, 08/07/2014, Exhibit 09 - 6/10/2004 E-mail exchange b/w Ciavarella and Cindi Walcott Re.
                        "Recovery Filter/Detachments"
 1616                   Little Deposition, 06/27/2016 - Exhibit 2003 - "Patient Questions & Answers" Brochure for the G2 Filter System
 1617                   Little Deposition, 06/27/2016 - Exhibit 2004 - Chart entitled "EVEREST/Cook Celect Clinical Comparison"
 1618                   Little Deposition, 06/27/2016 - Exhibit 2005 - 4/27/2010 BPV Memo from Filter Marketing to Bill Little Re. "Filter
                        naming", detailing the name rational for the Eclipse and Denali
 1621                   Little Deposition, 06/27/2016 - Exhibit 2009 - "Fractures of a Nitinol IVC Filter" presentation by Dr. W. Jay
                        Nicholson on www.CRTonline.org, in which he reviewed a single center experience on fractures with the Bard
                        Recovery and G2 filters
 1643                   McDermott Deposition, 02/05/2014 - Exhibit 02 - Bard's Product Performance Specification Report on the Recovery
                        Filter and Femoral Delivery System, PPS No. PPS070016 Rev. 0
 1680     REDACTED      McDonald Deposition, 07/29/2016 - Exhibit 21 - 7/13/2015 Warning Letter from the FDA regarding the 11/25/2014
                        Inspection of the C.R. Bard facility in NY and the 11/18/2014-1/5/2015 Inspection of the BPV facility in AZ
 1740                   Modra Deposition, 06/06/2014 - Exhibit 5 - 1/18/2010 E-mail from Bret Baird (Marketing Manager of IVC Filters) to
                        Sales Team list serve (TPE-PV Sales-DG) Re. "Important: Eclipse Vena Cava Filter Launch Details"
 1742                   Modra Deposition, 06/06/2014 - Exhibit 7 - Product Opportunity Appraisal for the G2 Platinum Concept, POA-8088
                        Rev. 1.0, Revised on 5/5/2009
 1763                   Modra, 01/26/2017, Exhibit 771A - Chart entitled "Design Failure Mode and Effects Analysis" on the Simon Nitinol
                        Filter - SNF/SL Filter Sets (DFMEA070042 Rev. 1)


                                                                 8
                      Case:
                       Case3:20-cv-00262-MPM-JMV
                            2:15-md-02641-DGC Document
                                                 Doc #: 521589
                                                          Filed: 09/18/20
                                                                  Filed 09/10/20
                                                                          56 of 72Page
                                                                                   PageID
                                                                                       56 #:
                                                                                          of 530
                                                                                             72

                      In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC

                                            TRANSFER ORDER (FOURTH)
     Exhibit 2 – Admitted Exhibit List from Bellwether Trials and Documents No Longer Subject to Protective Order

 Trial
              Notes                                                          Description
Ex. No.
 1787                     Orms Deposition, 08/16/2016 - Exhibit 13 - 11/9/2010 E-mail Thread from Chris Smith Re. "Northside(S) Filter
                          Business"
 1788                     Orms Deposition, 08/16/2016 - Exhibit 14 - 10/2/2010 E-mail Thread from Jeffrey Pellicio Re. "Meridian
                          Commercialization Plan"
 1817                     Raji-Kubba Deposition, 07/18/2016 - Exhibit 301 - 5/14/2009 E-mail from Bill Edwards to Raji-Kubba and Mike
                          Randall Re. "Tomorrow"
 1821                     Raji-Kubba Deposition, 07/18/2016 - Exhibit 305 - 11/12/2009 E-mail from Bret Baird to Bill Little, John Van Vleet,
                          and Gin Schulz
 1822                     Raji-Kubba Deposition, 07/18/2016 - Exhibit 307 - 1/21/2010 Bard Memo from Jeffrey Pellicio to "Reviewers"
 1823                     Raji-Kubba Deposition, 07/18/2016 - Exhibit 308 - 1/4/2010 E-mail from Gin Schulz to Beasley, Raji-Kubba, Van
                          Vleet, Doherty, and Little Re. "Potential Actions"
 1825                     Raji-Kubba Deposition, 07/18/2016 - Exhibit 310 - 9/1/2009 E-mail from Mike Randall Re. "0809 Filters Monthly
                          Report.doc"
 1861     Only admitted   Randall, 01/18/2017, Exhibit 634 - Binder labeled "Meridian Design History File DHF, Vol. II"
          Pgs. 38 & 70
 1912                     Romney Deposition, 09/07/2016 - Exhibit 2039 3/16/2006 E-mail from Jason Greer to Janet Hudnall
 1926                     Romney, 01/18/2017, Exhibit 2061 - 8/6/2014 E-mail from Schyler Smith, Field Manager for BPV in Washington-
                          Idaho-Montana, to Kim Romney, Subject redacted, relaying that a redacted doctor had placed a Meridian in the past
                          year and discovered at retrieval that an arm fractured, which imaging confirmed had occurred within 1 week of
                          placement, and was now wondering if he should try to remove the filter or leave it in. Van Vleet forwarded to
                          Treratola in a high importance e-mail on 8/7, requesting that he contact the doctor on Bard's behalf.
 1940     REDACTED        Schulz Deposition, 01/30/2014 - Exhibit 11 - Chart of Adverse Events and Deaths for all competitors from Prior
                          Evaluation through Q3 2005 and from
 1941     REDACTED        Schulz Deposition, 01/30/2014 - Exhibit 12 - 11/30/2005 E-mail exchange b/w Gin Schulz and Kellee Jones re Gin,
                          G2 v. Maude and attachments, Spread Sheet - Filter Sales (IMS Q1 '00 to Q4 '04, + Trend Q1 - Q3 '05)


                                                                   9
                    Case:
                     Case3:20-cv-00262-MPM-JMV
                          2:15-md-02641-DGC Document
                                               Doc #: 521589
                                                        Filed: 09/18/20
                                                                Filed 09/10/20
                                                                        57 of 72Page
                                                                                 PageID
                                                                                     57 #:
                                                                                        of 531
                                                                                           72

                     In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC

                                            TRANSFER ORDER (FOURTH)
     Exhibit 2 – Admitted Exhibit List from Bellwether Trials and Documents No Longer Subject to Protective Order

 Trial
            Notes                                                           Description
Ex. No.
 1944                   Schulz Deposition, 01/30/2014 - Exhibit 15 - 5/19/2006 E-mail from Natalie Wong to Gin Schulz and Candi Long,
                        attaching the PowerPoint Presentation on "Recovery (Gen 1) Fracture Slides" (included in exhibit) and RNF Fracture
                        Report (not included), updated to be current as of 5/18/2006 for the Management Review
 1945                   Schulz Exh. 16, BPVEFILTER-01-00008798 - 851, 10/1/2006 E-mail from Natalie Wong to Several Re. "Fracture
                        Docs"
 1946                   Schulz Deposition, 01/30/2014 - Exhibit 17 - 2/2/2006 E-mail from Gin Schulz to Several Re. "Minutes"
 1947                   Schulz Deposition, 01/30/2014 - Exhibit 19 - 5/10/2006 E-mail from Natalie Wong Re. "FDA Proposed Response"
 1948                   Schulz Deposition, 01/30/2014 - Exhibit 2 - 1/31/2006 E-mail from Gin Schulz to Mickey Graves and Natalie Wong
                        Re. "Caudal"
 1949                   Schulz Deposition, 01/30/2014 - Exhibit 21 - 6/28/2011 Email Chain from Brian Hudson to Kevin Bovee and Chad
                        Modra Re Talking Points Including attachment
 1950                   Schulz Deposition, 01/30/2014 - Exhibit 4 - Meeting Summary of the IVC Filter Focus Group meeting held on
                        6/1/2006 in Chicago, IL at Hilton O'Hare
 1951                   Schulz Deposition, 01/30/2014 - Exhibit 5 - 1/31/2005 Memo from Peter Palermo to Kerry Chunko Re. "Quality Plan
                        2005"
 2045                   Sullivan Deposition, 09/16/2016 - Exhibit 431 - Marketing Brochure - G2 Filter System for Permanent Placement
 2048     REDACTED      Sullivan Deposition, 09/16/2016 - Exhibit 437 - Document entitled "Failure Investigations/R002 History Review"
 2049                   Sullivan Deposition, 09/16/2016 - Exhibit 439 - 11/17/2004 Updated Health Hazard Evaluation Memo from David
                        Ciavarella, M.D. to Doug Uelmen, Re: "Limb Fractures of Recovery Filter"
 2052                   Wong Exh. 546, BPVE-01-01239757 - 775, Draft of PowerPoint Presentation entitled "G2 and G2X Fracture
                        Analysis", dated 11/30/2008
 2057     REDACTED      Sullivan, 11/03/2016, Exhibit 442 - Recovery Filter Migration Remedial Action Plan SPA-04-12-01 dated 1/4/2005,
                        including the Lehmann Report and Dr. Ciavarella's 12/17/2004 HHE titled "Recovery Filter - Consultant's report"
 2059                   Tessmer Deposition, 06/12/2013 - Exhibit 02 - Project Status Report Form for the Recovery Filter, Project No. 7081,
                        initiated 7/1/2002 with the goal to "Investigate Migration"; FM0700160, Rev. 1

                                                                 10
                    Case:
                     Case3:20-cv-00262-MPM-JMV
                          2:15-md-02641-DGC Document
                                               Doc #: 521589
                                                        Filed: 09/18/20
                                                                Filed 09/10/20
                                                                        58 of 72Page
                                                                                 PageID
                                                                                     58 #:
                                                                                        of 532
                                                                                           72

                    In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC

                                            TRANSFER ORDER (FOURTH)
     Exhibit 2 – Admitted Exhibit List from Bellwether Trials and Documents No Longer Subject to Protective Order

 Trial
            Notes                                                           Description
Ex. No.
 2061                   Tessmer 5, BPVE-01-00000230, 2/4/2004 E-mail from Alex Tessmer to Several Re. "Updated: Filter Migration Flow
                        Loop Test Fixture"
 2062                   Tessmer Deposition, 06/12/2013 - Exhibit 07 - 1/14/2004 Memo from Rob Carr to File Re. "Design Review Meeting
                        Minutes Response"
 2063                   Tessmer Deposition, 06/12/2013 - Exhibit 08 - 2/25/2004 E-mail from Alex Tessmer to Robert Carr and Brian
                        Hudson Re. "Filter Migration Test Results
 2065                   Tessmer Deposition, 06/12/2013 - Exhibit 11 - BPV Engineering Test Report - Characterization of Recovery Filter
                        Migration Resistance When Legs are Crossed or Hooks Removed - Phase 2, ETR-04-03-10, Rev 0
 2068                   Tessmer Deposition, 06/12/2013 - Exhibit 17 - 6/8/2004 "High" Importance E-mail from Alex Tessmer to Carr,
                        Chanduszko, and Hudson Re. "Filter Improvement DOE"
 2069                   Tessmer Deposition, 06/12/2013 - Exhibit 19 - 8/26/2004 E-mail from Alex Tessmer to Robert Carr and Avijit
                        Mukherjee Re. "Corporate Presentations"
 2090                   Tillman, 08/04/2017, Exhibit 1064 - NMT PowerPoint, Cprdos, 06/14/2000
 2105                   Trerotola, 01/20/2017, Exhibit 692 - 4/30/2015 E-mail from Dr. Trerotola to John Van Vleet, forwarding an article
                        from Forbes Magazine about ALN filters entitled "Effect of a Retrievable IVC Filter Plus Anticoagulation vs.
                        Anticoagulation Alone on Risk of Recurrent PE: A Randomized Clinic Trial". Per Trerotola, "not good for ALN...and
                        maybe not good for the industry". The article was discussed through 5/4, as they were meeting that day to review
                        articles before meeting with JVV.
 2149                   Vierling Deposition, 05/11/2016 - Exhibit 231 - 12/13/2001 E-mail from Carol Vierling to kaufmajo@ohsu.edu, Paul
                        Stagg, and Connie Murray Re. "RF Protocol"
 2153                   Vierling Deposition, 05/11/2016 - Exhibit 236 - 6/3/2002 Memo from Lynn Buchanan-Kopp to Project 7081 Design
                        History File Recovery Filter Project Team Re. "Project Phase Clarification", defining the 3 phases of the Recovery
                        filter project (I. Permanent; II. Intraprocedural Removal; and III. Long-Term Removable), as decided at the project
                        team meeting on 5/20/2002
 2217                   Williamson Deposition, 09/07/2016 - Exhibit 105 - Cover page entitled "Attachment 1.14", followed by the
                        1/23/2015 Memo from Ludwig to Chad Modra Re. "IVC Filters Retrospective Review", detailing the 2-year review


                                                                 11
                    Case:
                     Case3:20-cv-00262-MPM-JMV
                          2:15-md-02641-DGC Document
                                               Doc #: 521589
                                                        Filed: 09/18/20
                                                                Filed 09/10/20
                                                                        59 of 72Page
                                                                                 PageID
                                                                                     59 #:
                                                                                        of 533
                                                                                           72

                     In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC

                                            TRANSFER ORDER (FOURTH)
     Exhibit 2 – Admitted Exhibit List from Bellwether Trials and Documents No Longer Subject to Protective Order

 Trial
            Notes                                                           Description
Ex. No.
                        of 939 filter complaints from 1/2013 to 1/2015, with a chart detailing whether the MDR classification changed for
                        any complaints
 2238                   Wilson, 01/31/2017, Exhibit 801 - E-mail string, Subject: Meridian Commercialization Plan
 2243                   Wong Deposition, 10/18/2016 - Exhibit 537 - 4/23/2004 E-mail from John Lehmann to Carr and Uelmen Re. "Draft
                        data set for statistician"
 2244     REDACTED      Wong Deposition, 10/18/2016 - Exhibit 538 - 12/17/2004 Health Hazard Evaluation from David Ciavarella to Doug
                        Uelmen Re. "Recovery Filter - Consultant's Report", detailing the 76 reports of the Recovery filter, with 32 serious
                        injury and 10 deaths of the 20,827 units sold during the reporting period
 2245                   Wong Exh. 540, Recovery Gen 1, Fracture and Migration Complaint Update, 6-20-2006
 2245                   Wong Deposition, 10/18/2016 - Exhibit 540 - Confidential PowerPoint Presentation entitled "Recovery (Gen 1) -
                        Fracture and Migration Complaint Update," dated 6/20/2006
 2246                   Wong Exh. 541, BPVE-01-01512188, Email from Natalie Wong to Gin Schulz Re RNF Fracture Report 8-1-06, 8-4-
                        2006
 2247                   Wong Deposition, 10/18/2016 - Exhibit 542 - 12/2/2009 E-mail exchange b/w Sandy Kerns and Natalie Wong Re.
                        "Filter Fractures"
 2248                   Wong Deposition, 10/18/2016 - Exhibit 543 - PAT PowerPoint Presentation entitled "G2 Caudal Migration Update,"
                        dated 3/2/2006, which Wong circulated via e-mail on 3/2/2006 to several for the presentation that afternoon
 2249                   Wong Deposition, 10/18/2016 - Exhibit 544 - 5/18/2006 Natalie Wong meeting documents, email re "Caudal
                        Investigation" with attachments of G2 Caudal Report 05.18.06 and Caudal Pre-PAT minutes
 2250                   Wong Deposition, 10/18/2016 - Exhibit 545 - BPV's Failure Investigation Report on the G2 Filter - Caudal Migration,
                        FIR-06-01-01, unsigned and forwarded by Wong to Gin Schulz for her review, in anticipation of the Friday deadline
 2251                   Wong Deposition, 10/18/2016 - Exhibit 547 - 4/10/2006 High Importance E-mail from Cindi Walcott to Allen,
                        Schulz, and McDermott Re. "FW: FDA Request for Information"
 2252                   Wong Deposition, 10/18/2016 - Exhibit 548 - 9/25/2007 E-mail from John Lehmann to John Van Vleet and John
                        Reviere Re. "EVEREST FSR rev H and supporting redlines


                                                                  12
                    Case:
                     Case3:20-cv-00262-MPM-JMV
                          2:15-md-02641-DGC Document
                                               Doc #: 521589
                                                        Filed: 09/18/20
                                                                Filed 09/10/20
                                                                        60 of 72Page
                                                                                 PageID
                                                                                     60 #:
                                                                                        of 534
                                                                                           72

                     In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC

                                            TRANSFER ORDER (FOURTH)
     Exhibit 2 – Admitted Exhibit List from Bellwether Trials and Documents No Longer Subject to Protective Order

 Trial
            Notes                                                           Description
Ex. No.
 2253                   Wong Deposition, 10/18/2016 - Exhibit 549 - 5/27/2004 E-mail from Natalie Wong to Doug Uelmen Re. "Recovery
                        Stats"
 2254                   Wong Deposition, 10/18/2016 - Exhibit 552 - 2/17/2006 Memo from Mickey Graves and Natalie Wong Re.
                        "Recovery Filter (Generation 1) Product Assessment Team Minutes - Fractures"
 3262     REDACTED      Complaint File - 03/09/2010, 263280, G2 - RF310F, 2907 Detachment of device or device component
 3270     REDACTED      Complaint File - 03/30/2010, 266286, G2 - RF310F, 2907 Detachment of device or device component
 3304     REDACTED      Complaint File - 07/28/2010, 282326, Eclipse - EC500J, 2907 Detachment of device or device component; 2907M
                        Filter Limb(s)
 3572                   Securities and Exchange Commission Form 10-K for C.R. Bard, Inc. for the fiscal year ended December 31st, 2016
 3573                   Securities and Exchange Commission Form 10-Q for C.R. Bard, Inc. for the quarterly period ended September 30th,
                        2017
 4327     REDACTED      2/10/06 monthly meeting - redesign due to caudal migration (excludes last 4 pages)
 4328                   Ganser Exh. 517 Device Labeling Guidance, General Program Memorandum
 4330                   Asch Deposition, 05/02/2016 - Exhibit 206, July 21, 1999 letter to Dr. Freeland from Dr. Asch
 4332                   Updated CV of Murray Asch
 4392                   Truthfulness and Accuracy Statement Vierling Deposition, Exhibit 227
 4409                   G2 Brochure 2
 4412                   Email from: Gin Schulz to Kevin Shiffrin regarding Recovery Filter Limb Fractures with attachment of RF Limb
                        detach
 4414                   Email from Brian Reinkensmeyer to Baird cc Pellicio and Randall re "Filter study Idea"
 4415                   Email from Mike Randall to Carr and Raji-Kubba re "Misclassified??"
 4416                   Bill Little email re Eclipse Filter Naming
 4420     REDACTED      Meridian Vena Cava Filter and Jugular Delivery System Product Performance Specification PPS, Revision 3


                                                                     13
                      Case:
                       Case3:20-cv-00262-MPM-JMV
                            2:15-md-02641-DGC Document
                                                 Doc #: 521589
                                                          Filed: 09/18/20
                                                                  Filed 09/10/20
                                                                          61 of 72Page
                                                                                   PageID
                                                                                       61 #:
                                                                                          of 535
                                                                                             72

                      In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC

                                            TRANSFER ORDER (FOURTH)
     Exhibit 2 – Admitted Exhibit List from Bellwether Trials and Documents No Longer Subject to Protective Order

 Trial
              Notes                                                          Description
Ex. No.
 4428                     Eclipse Vena Cava Filter Ad
 4430                     Eclipse Vena Cava Filter Brochure
 4433                     Eclipse Vena Cava Filter Patient Questions & Answers
 4438                     G2 Express Vena Cava Filter Brochure
 4454                     Eclipse Vena Cava Filter Concept POA, Revision 2
 4455                     Vail Vena Cava Filter DIS
 4456                     Eclipse Vena Cava Filter Product Performance Specification (PPS)
 4457                     Vail Filter System DFMEA
 4459                     Eclipse Vena Cava Filter Jugular Vein Approach IFU
 4467                     8/12/2011 email from Mike Randall to Joni Creal re Corp approval needed for Cleveland Clinic Studies w/ attached
                          PowerPoint slides re Filter Fixation and Migration: Forces and Design
 4468                     6/10/2011 email from Mike Randall re Meridian Presentation for SSM 2011
 4469                     Data Source Evaluation memo from Natalie Wong to Quality Systems Coordinator, October 2010
 4486                     G2 Express Project Plan FM0700150 Rev 6 1-30-07
 4499                     Meridian Vena Cava Filter vs. Eclipse Vena Cava Filter
 4504     REDACTED        Monthly Management Report, dated 4/8/09
 4507     REDACTED        Monthly Management Report, dated 7/9/09
 4509     REDACTED        Monthly Management Report, dated 10/8/09
 4512     REDACTED        Monthly Management Report, dated 1/1/10
 4514     REDACTED        Monthly Management Report, dated 3/8/10
 4515     Only admitted   Monthly Management Report, dated 4/8/10
          pgs. 12 & 13


                                                                  14
                    Case:
                     Case3:20-cv-00262-MPM-JMV
                          2:15-md-02641-DGC Document
                                               Doc #: 521589
                                                        Filed: 09/18/20
                                                                Filed 09/10/20
                                                                        62 of 72Page
                                                                                 PageID
                                                                                     62 #:
                                                                                        of 536
                                                                                           72

                     In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC

                                            TRANSFER ORDER (FOURTH)
     Exhibit 2 – Admitted Exhibit List from Bellwether Trials and Documents No Longer Subject to Protective Order

 Trial
            Notes                                                           Description
Ex. No.
 4519     REDACTED      Monthly Management Report, dated 8/9/10
 4522     REDACTED      Monthly Management Report, dated 11/8/10
 4528     REDACTED      Monthly Management Report, dated 5/9/11
 4532     REDACTED      Monthly Management Report, dated 9/9/11
 4533     REDACTED      Monthly Management Report, dated 10/10/11
 4534     REDACTED      Monthly Management Report, dated 11/8/11
 4552                   Decant Deposition Exhibit 273, Failure Investigation Report, Recovery Filter Migration FIR-04-12-02, Rev. 00
 4554                   NMT Medical, BSC Presentation, 5/22/2000
 4565                   FRE 1006 Chart - Plaintiff's Compilation Complaint Record Detail
 4595                   Kandarpa Deposition, 07/19/2018 - Exhibit 05 - Medical Monitor Meeting Minutes, August 29, 2005, Beechwood
                        Hotel, Worcester, MA, Version 1.0 (6 pages), signed 12/16/05. *only the last page is bates stamped BBA-00012962
 4596                   Kandarpa Deposition, 07/19/2018 - Exhibit 06 - Everest Clinical Trial, Medical Monitor Meeting agenda and power
                        point, June 19, 2006, Revision B
 4599                   Kandarpa Deposition, 07/19/2018 - Exhibit 09 - Summary of Filter Movement, 5mm or greater, Final Clinical
                        Summary Report EVEREST
 4600                   Kandarpa Deposition, 07/19/2018 - Exhibit 10 - Device Observation Table (as of 10/23/2006)
 4601                   Kandarpa Deposition, 07/19/2018 - Exhibit 11 - Listing of Device Observations, Final Clinical Summary Report
                        EVEREST
 4602                   Kandarpa Deposition, 07/19/2018 - Exhibit 12 - Adjudication Manual of Operations, EVEREST (trial exhibit 5983
 4603                   Kandarpa Deposition, 07/19/2018 - Exhibit 13 - Recovery G2 Filter System - Femoral and Jugular/Subclavian
                        Delivery Kits, Tradition 510(k), October 31, 2007
 4604                   Kandarpa Deposition, 07/19/2018 - Exhibit 14 - Article entitled "Technical Success and Safety of Retrieval of the G2
                        Filter in a Prospective, Multicenter Study", Nov. 2009


                                                                 15
                      Case:
                       Case3:20-cv-00262-MPM-JMV
                            2:15-md-02641-DGC Document
                                                 Doc #: 521589
                                                          Filed: 09/18/20
                                                                  Filed 09/10/20
                                                                          63 of 72Page
                                                                                   PageID
                                                                                       63 #:
                                                                                          of 537
                                                                                             72

                       In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC

                                            TRANSFER ORDER (FOURTH)
     Exhibit 2 – Admitted Exhibit List from Bellwether Trials and Documents No Longer Subject to Protective Order

 Trial
              Notes                                                           Description
Ex. No.
 4607                      Kandarpa Deposition, 07/19/2018 - Exhibit 17 - Memorandum dated June 21, 2006 Subject: G2 Caudal Migration
                           Failure Investigation Team Agenda, From Natalie Wong
 4617                      VanVleet Deposition, 09/26/2016 - Exhibit 496 - Bard Recovery G2 EVEREST Final Study Report
 4785                      Fermanich Deposition, 3/17/17 - Exhibit 2: Email, from Tim Hug, 3/19/10, Re: Adversity-How are you going to
                           respond (6 pages)
 4786                      Fermanich Deposition, 3/17/17 - Exhibit 3: Email, from Tim Hug, 4/27/10, Re: Flair-April Expected Results (3
                           pages)
 4794                      Fermanich Deposition, 3/17/17 - Exhibit 11: Email from Tim Hug to Hans Yentz (and others), 2/9/10, Subject: Filter
                           Accounts-Eclipse Transition (2 pages)
 4795                      Fermanich Deposition, 3/17/17 - Exhibit 12: G2 Filter product brochure (4 pages)
 4797                      Fermanich Deposition, 3/17/17 - Exhibit 14: Email from Tim Hug to Nine Aghakhan (and others), 3/24/10, Subject:
                           FW: G2 X not available for order (2 pages)
 4798                      Fermanich Deposition, 3/17/17 - Exhibit 15: Email from Bret Baird to TPW-PV Sales-DG, 4/28/10, Subject: When
                           was the last time… (2 pages)
 4800                      Fermanich Deposition, 3/17/17 - Exhibit 17: Email from David Ciavarella to Brian Berry (and others), 12/27/05,
                           Subject: FW: G2 Caudal Migrations (2 pages)
 4804     Only admitted    Fermanich Deposition, 3/17/17 - Exhibit 21: Email from Mary Christine Starr to Matt Fermanich, 2/17/11, Subject:
          1st email,       RE: Technician Registration (4 pages)
          redacted other
          emails
 4806     Only admitted    Fermanich Deposition, 3/17/17 - Exhibit 23: Email from Cynthia L. Haas to Matt Fermanich, 4/21/11, Subject: RE:
          pg. 2            Expired product (7 pages)
 4809                      Fermanich Deposition, 3/17/17 - Exhibit 26: Email from Tim Hug to Matt Fermanich, 12/13/00, Subject: G2 Filter
                           Discontinued (2 pages)




                                                                    16
                    Case:
                     Case3:20-cv-00262-MPM-JMV
                          2:15-md-02641-DGC Document
                                               Doc #: 521589
                                                        Filed: 09/18/20
                                                                Filed 09/10/20
                                                                        64 of 72Page
                                                                                 PageID
                                                                                     64 #:
                                                                                        of 538
                                                                                           72

                    In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC

                                            TRANSFER ORDER (FOURTH)
     Exhibit 2 – Admitted Exhibit List from Bellwether Trials and Documents No Longer Subject to Protective Order

 Trial
            Notes                                                          Description
Ex. No.
 4812                   Fermanich Deposition, 3/17/17 - Exhibit 29: BPV Memo from Filter Marketing to Bill Little, 4/27/10, Subject: Filter
                        naming (2 pages)
 4820                   Fermanich Deposition, 3/17/17 - Exhibit 37: Health Hazard Evaluation memo from David Ciavarella to Gin Schulz,
                        2/15/06, Re: G2 Inferior Vena Cava Filter - Migration (3 pages)
 4842                   Hug Deposition, 8/23/17 - Exhibit 1117: Email to Nine Aghakhan from Tim Hug, 3/8/11, Subject: FW: GW Fem
                        Filter Backorder (2 pages)
 4893                   GX2 Risk Analysis
 4894                   Eclipse Risk Analysis
 4895                   Meridian Risk Analysis
 4896                   Caudal Migration Testing Meridian and Optease
 4897                   G2 Express Product Performance Specification, PPS-8058
 4938                   BPV Consulting Request Form
 5001                   Dec. 2004 Dear Doctor Letter
 5003                   Feb. 8, 2005 Conference FDA and BPV re Recovery Retrievable (K031328)
 5017                   Aug. 5, 1999 R&D Technical Report RNF Migration Study, Design Verification (RD-RPT-100)
 5022                   RD-LNB-087 Laboratory Notebook
 5037                   ETR-05-02-02 (Effects of Changes to the Recovery Filter & The Femoral Delivery System on Filter Stresses Based
                        on FEA Analysis)
 5126                   Guidance for Industry and FDA Reviewers/Staff - Guidance for Cardiovascular Intravascular Filter 510(k)
                        Submissions
 5126                   Guidance for Industry and FDA Reviewers/Staff - Guidance for Cardiovascular Intravascular Filter 510(k)
                        Submissions
 5164                   July 8, 2003 Fax IMPRA to FDA re Recovery Retrievable (K031328)


                                                                 17
                    Case:
                     Case3:20-cv-00262-MPM-JMV
                          2:15-md-02641-DGC Document
                                               Doc #: 521589
                                                        Filed: 09/18/20
                                                                Filed 09/10/20
                                                                        65 of 72Page
                                                                                 PageID
                                                                                     65 #:
                                                                                        of 539
                                                                                           72

                     In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC

                                            TRANSFER ORDER (FOURTH)
     Exhibit 2 – Admitted Exhibit List from Bellwether Trials and Documents No Longer Subject to Protective Order

 Trial
            Notes                                                           Description
Ex. No.
 5169     REDACTED      Apr. 25, 2003 Recovery Retrievable Abbreviated 510(k) (K031328)
 5177                   Nov. 27, 2002 FDA Clearance Letter re Recovery Permanent (K022236) (Substantial Equivalence)
 5178                   Oct. 25, 2002 Letter IMPRA to FDA re Recovery (K022236)
 5179                   Oct. 4, 2002 Letter FDA to IMPRA re Recovery (K022236)
 5182                   Aug. 30, 2002 Letter IMPRA to FDA re Recovery (K022236)
 5187                   Aug. 5, 2002 Letter FDA to IMPRA re Recovery (K022236)
 5189                   July 10, 2002 IMPRA Recovery Permanent Special 510(k) (K022236)
 5193                   Feb. 28, 2005 Letter BPV to FDA re FDA AI re Recovery Retrievable (K031328)
 5195                   Nov. 30, 2004 Letter FDA to BPV re Recovery IFU and DDL, dear doctor letter
 5196                   Oct. 5, 2004 Letter BPV to FDA re Recovery IFU and DDL
 5197                   July 25, 2003 FDA Clearance Letter re Recovery Retrievable (K031328) (Substantial Equivalence)
 5232                   RD-RPT-116 (RNF Migration Study) (Test report for RD-SOP-035.02) RD-RPT-116
 5233                   RD-SOP-054.00 (Recovery Filter Endura TEC Fatigue Testing SOP NMT)
 5234                   RD-RPT-099 (Recovery Filter Endura TEC Fatigue Testing Report NMT)
 5238                   Slides from Bariatric Surgeons Panel Meeting on Feb. 12, 2005
 5239                   Jan. 21, 2005 Conference FDA and BPV re DDL and Recovery Retrievable (K031328)
 5247                   May 11, 2005 BPV began distributing DCL
 5252                   ETR-04-03-02 (RNF v. Competitive Product -- migration resistance)
 5268                   NMT's 510(k) (K963016) for modifications to the SNF(submitted by Hogan & Hartson)
 5272                   Nov. 23, 2009 BPV's Eclipse Filter System Special 510(k) (K093659)
 5273                   Jan. 14, 2010 FDA Clearance Letter Eclipse Filter (K093659) (Substantial Equivalence)


                                                                 18
                    Case:
                     Case3:20-cv-00262-MPM-JMV
                          2:15-md-02641-DGC Document
                                               Doc #: 521589
                                                        Filed: 09/18/20
                                                                Filed 09/10/20
                                                                        66 of 72Page
                                                                                 PageID
                                                                                     66 #:
                                                                                        of 540
                                                                                           72

                     In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC

                                            TRANSFER ORDER (FOURTH)
     Exhibit 2 – Admitted Exhibit List from Bellwether Trials and Documents No Longer Subject to Protective Order

 Trial
            Notes                                                           Description
Ex. No.
 5283                   G2 IFU (Femoral) PK5250500 Rev. 0 01/08
 5290                   TD-00456 (EVEREST Study Final Report)
 5296                   G2 Filter Product Performance Specification, v.2
 5301                   ETR-05-01-06 Animal Model Evaluation of Recovery Filter G1A Femoral System Report
 5302                   TPR 05-01-13 G1A Recovery Filter Femoral System Design Verification and Validation Protocol
 5303                   ETR-05-02-05 (G2® DV&V summary testing)
 5304                   ETR 05-02-11 G1A Recovery Filter Femoral System Chronic Animal Study Report
 5315                   Phase 2 Design Review G1A Recovery Filter Femoral Delivery System, BPV-17-01-00121226 -255
 5316                   Phase 3 Design Review (Design Review 3 & 4) G1A Recovery Filter Femoral Delivery System, BPV-17-01-
                        00121256 -286
 5322                   Nov. 2, 2005 FDA Grants Full Approval of G2 Everest Study (G051304)
 5323                   Aug. 8, 2005 FDA Grants BPV Conditional Approval for G2 Everest Study (G050134)
 5324                   July 8, 2005 BPV's original IDE submission re G2 Everest Study (G050134)
 5325     REDACTED      Oct. 3, 2005 Letter BPV to FDA re G2 Everest Study (G051034) and Conditional Approval
 5329     REDACTED      June 21, 2006 Letter BPV to FDA re G2 Everest Study (G051304) IDE Supplement
 5333                   Feb. 2, 2007 Letter BPV to FDA re G2 Everest Study (G051304) Annual Progress Report
 5334                   Sept. 21, 2007 Letter FDA to BPV Questions re G2 Everest Study (G051304)
 5335                   Aug. 23, 2007 Letter BPV to FDA re G2 Everest Study (G051304) Annual Progress Report
 5336                   Oct. 25, 2007 Letter BPV to FDA re Responses to FDA re G2 Everest Study (G051304), BPV-17-01-00123498 -562
 5339                   Jan. 15, 2008 FDA Clearance Letter G2 Filter Retrievable (K073090) (Substantial Equivalence)
 5340                   Oct. 31, 2007 BPV's G2 Filter Retrievable Traditional 510(k) (K073090)
 5343                   Aug. 29, 2005 FDA Clearance Letter re G2 Permanent (K050558) (Substantial Equivalence)

                                                                 19
                    Case:
                     Case3:20-cv-00262-MPM-JMV
                          2:15-md-02641-DGC Document
                                               Doc #: 521589
                                                        Filed: 09/18/20
                                                                Filed 09/10/20
                                                                        67 of 72Page
                                                                                 PageID
                                                                                     67 #:
                                                                                        of 541
                                                                                           72

                     In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC

                                            TRANSFER ORDER (FOURTH)
     Exhibit 2 – Admitted Exhibit List from Bellwether Trials and Documents No Longer Subject to Protective Order

 Trial
            Notes                                                          Description
Ex. No.
 5344                   July 28, 2005 Letter FDA to BPV re AI re Modified Recovery (K050558)
 5348                   Mar. 30, 2005 Letter FDA to BPV re Modified Recovery (K050558)
 5349                   Mar. 2, 2005 BPV's Modified Recovery Filter Special 510(k) (K050558)
 5350     REDACTED      June 3, 2005 Letter BPV to FDA re Modified Recovery conversion Traditional 510(k) (K050558)
 5352                   Aug. 10, 2005 Letter BPV to FDA Responses to AI re G2 (K050558)
 5353                   Nov. 25, 2005 FDA Clearance Letter G2 Filter - Jugular (K052578) (Substantial Equivalence)
 5354                   Sept. 19, 2005 BPV's G2 Filter - Jugular Subclavian Delivery Kit Special 510(k) (K052578)
 5361                   Sept. 25, 2006 BPV's G2 Filter - Femoral Delivery Kit Special 510(k) (K062887)
 5362                   Oct. 26, 2006 FDA Clearance Letter G2 Filter - Femoral Delivery Kit (K062887)
 5368                   July 30, 2008 FDA Clearance Letter G2 Express Filter (K080668) (Substantial Equivalence)
 5373                   Mar. 7, 2008 BPV's G2 Express Filter Special 510(k) (K080668)
 5376                   Oct. 31, 2008 FDA Clearance Letter G2X Filter (K082305) Substantial Equivalence
 5379                   Aug. 12, 2008 BPV's G2X Filter Special 510(k) (K082305)
 5384                   G2 Express Feasibility Acute Animal Study Report TR-07-05-18
 5385                   G2 Express Filter Arm Fatigue Comparison TR-07-07-04
 5483                   sopq1417500 Rev 1 -- Statistical Complaint Trending Procedure PMA Related, BPV-17-01-00144123 - 126
 5486                   Dec. 17, 2009 Letter from BPV to FDA re Eclipse Filter System Response to FDA Questions (K093659)
 5488                   June 21, 2010 Letter from BPV to FDA re Eclipse Filter System Response to FDA Questions (K101431)
 5523                   ETR-04-03-05 (RNF Characterization testing comparing GFO v. NMT manufactured filters) (followed TPR-04-02-
                        02) ETR-04-03-05, Rev. 0 (GFO and NMT Manufactured Recovery; Filters Migration Resistance Comparison, Phase
                        1)



                                                                20
                      Case:
                       Case3:20-cv-00262-MPM-JMV
                            2:15-md-02641-DGC Document
                                                 Doc #: 521589
                                                          Filed: 09/18/20
                                                                  Filed 09/10/20
                                                                          68 of 72Page
                                                                                   PageID
                                                                                       68 #:
                                                                                          of 542
                                                                                             72

                      In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC

                                            TRANSFER ORDER (FOURTH)
     Exhibit 2 – Admitted Exhibit List from Bellwether Trials and Documents No Longer Subject to Protective Order

 Trial
              Notes                                                          Description
Ex. No.
 5526                     TPR-04-02-02 (Protocol for RNF Migration Testing v. Competitive) Test Protocol Number TPR-04-02-02 (Rev. 0) --
                          Characterization of the Recovery Filter (RF) - Migration Resistance
 5534                     Picture of Clot from Feb. 2004 RNF Migration
 5536                     Meeting Summary from Filter Expert Panel June 1, 2006
 5537                     June 2006 Expert Panel Meeting Slides
 5539     Only admitted   G2 Caudal Migration Failure Investigation Report Aug. 4, 2005 G2 Filter Caudal Migration Failure Investigation
          pgs. 12 -32     Report (FIR-06-01-01) G2 Caudal Migration Failure Investigation Report
 5560                     Standard Operating Procedures / Division Operating Procedures -- CQA-STD-R002 Rev 11, BPV-17-01-00166749 -
                          776.
 5561                     Standard Operating Procedures / Division Operating Procedures -- CQA-STD-R002 Rev 12, BPV-17-01-00166777 -
                          806
 5563                     Standard Operating Procedures / Division Operating Procedures -- CQA-STD-R002 REv 14
 5565                     Standard Operating Procedures / Division Operating Procedures -- RA-STD-002 Rev 10
 5586                     May 20, 2010 BPV's Eclipse Filter Special 510(k) (K101431)
 5587                     June 18, 2010 Letter FDA to BPV re FDA AI Demand re Eclipse (K101431)
 5588                     Dec. 15, 2009 Letter FDA to BPV re FDA Al Demand re Eclipse (K093659)
 5589                     June 22, 2010 - FDA Clearance Letter for Eclipse Filter (K101431) (Substantial Equivalence)
 5593                     Aug. 14, 2009 Conference FDA and BPV re future Eclipse Filter 510(k)
 5602     REDACTED        FDA CONTACT REPORT January 7 2010 FINAL
 5612     REDACTED        Nov. 17, 2009 (Filters and future submissions)
 5691     Only admitted   BPV FDA 483 Update Response March 26, 2015, BPV-17-01-00200156 - 338
          pgs. 12-32



                                                                   21
                      Case:
                       Case3:20-cv-00262-MPM-JMV
                            2:15-md-02641-DGC Document
                                                 Doc #: 521589
                                                          Filed: 09/18/20
                                                                  Filed 09/10/20
                                                                          69 of 72Page
                                                                                   PageID
                                                                                       69 #:
                                                                                          of 543
                                                                                             72

                      In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC

                                            TRANSFER ORDER (FOURTH)
     Exhibit 2 – Admitted Exhibit List from Bellwether Trials and Documents No Longer Subject to Protective Order

 Trial
              Notes                                                          Description
Ex. No.
 5706     Only admitted   September 3 2015 Update Response to Warning Letter issued July 13 2015.pdf
          pgs. 48-61
 5851                     TD-04698 Retrospective IVC Filter Review.pdf
 5872                     FDA Warning Close Out Letter
 5874                     Bard filter rate information December 2016
 5877                     1996 Memo from Veronica Price
 5879                     April 11, 2006 Letter to FDA re Caudal Migration
 5880                     March 23, 2006 Letter to FDA re G2 Caudal Migration
 5881                     May 11, 2006 Letter to FDA re Caudal Migration
 5905                     Jan. 22, 2005 Email to FDA
 5923     REDACTED        September 2010 Letter to Clinicians re FDA PHN
 5929                     TR-07-12-01 (Test Report re G2 Express DV& V Flat Plate Fatigue and Corrosion)
 5931                     G2X (Jugular) 2009.10 – PK5100070 rev. 5 IFU
 5942                     January 7, 2010 FDA PowerPoint Presentation
 5946                     QMBR—July 2006
 5949                     ETR-06-05-02 (Test report re G2® Clot Trapping Efficiency)
 5967                     G2 Risk Benefit Analysis (RBA-0003, Rev. 0)
 5970                     HHE re G2 Caudal Migration February 15, 2006
 5991                     FM1287100 Rev. 5 (MDR Reportability Guidelines)
 5994                     TD-04316 Nov. 4, 2015 FDA and Bard Teleconference
 5995                     TD-04326 Oct. 26, 2015 FDA and Bard Teleconference
 6013                     Dec. 27, 2010 Letter from BPV to FDA re Meridian

                                                                  22
                    Case:
                     Case3:20-cv-00262-MPM-JMV
                          2:15-md-02641-DGC Document
                                               Doc #: 521589
                                                        Filed: 09/18/20
                                                                Filed 09/10/20
                                                                        70 of 72Page
                                                                                 PageID
                                                                                     70 #:
                                                                                        of 544
                                                                                           72

                     In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC

                                            TRANSFER ORDER (FOURTH)
     Exhibit 2 – Admitted Exhibit List from Bellwether Trials and Documents No Longer Subject to Protective Order

 Trial
            Notes                                                             Description
Ex. No.
 6046                     August 28, 2006 EVEREST Medical Monitor Adjudication Meeting Minutes
 6061                     Aug. 22, 2005 Internal FDA memo reviewing BPV's Responses to FDA Al re G2 (K050558)
 6064                     July 26, 2005 Internal FDA memo re BPV Responses to FDA AI re Modified Recovery (K050558)
 6075                     Nov. 10, 2004 FDA Internal Memo re Dear Doctor Letter
 6082                     FDA_PRODUCTION_00001288 -- July 2, 2003 Email chain FDA and BPV re Recovery Retrievable (K031328)
 6089                     Product Development Cycle PPT
 6842                     ACR-SIR-SPR Practice Parameter for the Performance of Inferior Vena Cava (IVC) Filter Placement for the
                          Prevention of Pulmonary Embolism. Revised 2016.

                    ***   Note: “Admitted for the limited purpose to establish knowledge to the medical community, not for the truth of the
                          matter asserted.”
 6892                     Binkert CA, Drooz AT, Caridi JG, Sands MJ, Bjarnason H, Lynch FC, Rilling WS, Zambuto DA, Stavropoulos SW,
                          Venbrux AC, Kaufman JA. Technical success and safety of retrieval of the G2 filter in a prospective, multicenter
                          study. J Vasc Interv Radiol. 2009 Nov;20(11):1449-53. doi: 10.1016/j.jvir.2009.08.007.
 6991                     FDA Safety - Inferior Vena Cava (IVC) Filters: Initial Communication: Risk of Adverse Events with Long Term Use,
                          08/09/2010.
 6992                     FDA Safety Communications, Removing Retrievable Inferior Vena Cava Filters. 05/06/2014.
                          http://wayback.archive-
                          it.org/7993/20170722215731/https://www.fda.gov/MedicalDevices/Safety/AlertsandNotices/ucm396377.htm
 6993                     FDA Safety Communications, Removing Retrievable Inferior Vena Cava Filters: Initial Communication. 08/09/2010.
                          http://www.fda.gov/MedicalDevices/Safety/AlertsandNotices/ucm221676.htm
 7312                     SIR Guidelines for IVC Filters

                    ***   Note: “Admitted for the limited purpose to establish knowledge to the medical community, not for the truth of the
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                                                                   23
                    Case:
                     Case3:20-cv-00262-MPM-JMV
                          2:15-md-02641-DGC Document
                                               Doc #: 521589
                                                        Filed: 09/18/20
                                                                Filed 09/10/20
                                                                        71 of 72Page
                                                                                 PageID
                                                                                     71 #:
                                                                                        of 545
                                                                                           72

                    In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC

                                            TRANSFER ORDER (FOURTH)
     Exhibit 2 – Admitted Exhibit List from Bellwether Trials and Documents No Longer Subject to Protective Order

 Trial
            Notes                                                            Description
Ex. No.
 7411                   2008 Surgeon General's Call to Action re PE and DVT
 7753                   2014 Draft FDA Guidance re Benefit-Risk Factors When Determining Substantial Equivalence in Premarket
                        Notifications 510k with Different Technological Characteristics
 7758                   2014 FDA Guidance re 510k Evaluating Substantial Equivalence in Premarket Notifications
 7771                   Braun Vena Tech LP Femoral – October 2010
 7787                   Cordis Optease Femoral Jugular Antecubital - 2013
 7795                   Screenshot from FDA, MAUDE - Manufacturer and User Facility Device Experience, available online at
                        https://www.accessdata.fda.gov/ scripts/cdrh/cfdocs/cfmaude/search.cfm
 7960                   IVC Filters Clinical Overview
 7961                   Corporate Quality Assurance Manual, Standard for Product Complaint Handling
 7962                   Corporate Quality Assurance Manual, Standard for Medical Device Reporting
 7900                   Demonstrative depiction of sales of bard’s retrievable IVC filters
 8325                   Eclipse IFU 02.2010 PK5100600 Rev. 1
 8358                   TR-09-10-15 -- Eclipse Flat Plate Fatigue and Corrosion Examination of the Vail (Eclipse) Filter
 8359                   TR-09-10-16 DV&V Eclipse Filter Arm Fatigue Comparison Study (Project #8113)
 8362                   Eclipse Filter Patient Questions & Answers
 8368                   TP-09-10-15 Rev. 0 - Eclipse DV&V Flat Plate Fatigue and Corrosion Test Protocol
 8482                   Bard IVC Filter G3 Design/Development Timeline
 8546                   Draft Test Report re Rotary Beam Fatigue of Nitinol Wire
 8572                   G3 Meeting Minutes Nov 27, 2007
 8574                   TR 09-10-10, Test Report Cyclic Fatigue Testing of Electropolished Vail Filter Wire
 8575                   TP 09-10-10, Test Protocol Cyclic Fatigue Testing of Electropolished Vail Filter Wire


                                                                  24
                      Case:
                       Case3:20-cv-00262-MPM-JMV
                            2:15-md-02641-DGC Document
                                                 Doc #: 521589
                                                          Filed: 09/18/20
                                                                  Filed 09/10/20
                                                                          72 of 72Page
                                                                                   PageID
                                                                                       72 #:
                                                                                          of 546
                                                                                             72

                      In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC

                                             TRANSFER ORDER (FOURTH)
      Exhibit 2 – Admitted Exhibit List from Bellwether Trials and Documents No Longer Subject to Protective Order

 Trial
             Notes                                                           Description
Ex. No.
 8583                     G3 Project Status Report April 19, 2006
 8837                     Defendants' Exhibit 10 to Joint Report on Determining Filter Type
 9080                     10/7/07 Email from Dr. Lehman


                                    Document deemed no longer subject to the Protective Order


Trial Ex.
              Notes                                                          Description
  No.
908                      Ciavarella Deposition, 03/01/2011 - Exhibit 12 - 5/11/2005 "Dear Colleague" letter from BPV re. the Recovery filter
                         system




                                                                    25
